Case 1:18-cv-24463-FAM Document 12-2 Entered on FLSD Docket 01/11/2019 Page 1 of 114




                                 UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                          MIAMI DIVISION
                                         www.flsb.uscourts.gov


    In re:                                                                 Case No.: 18-15825-AJC
    NUBIA MARCELLA PEREZ,                                                  Chapter 11

                Debtors.
    ____________________________________/

             LANDLORD’S COUNTER DESIGNATION OF THE RECORD ON APPEAL
             Appellee, Brian Holland and Andrea Holland (“Landlord”), pursuant to Federal Rule of

    Bankruptcy Procedure 8009(a)(2) designates the following additional items to be include in the

    record on appeal:


     Date            ECF No.             Description


     05/17/2018      6                   Certification of Budget and Credit Counseling Course by
                                         Debtor Filed by Debtor Nubia Marcella Perez
     5/23/2018       8                   First Statement of Debtor(s) Social Security Number(s)


     5/23/2018       9                   Notice of Filing Creditor Matrix


     05/24/2018      10                  List of Twenty Largest Unsecured Creditors


     5/24/18         11                  Notice of Meeting of Creditors. Deadline to File a Complaint
                                         Objecting to Discharge of the Debtor: First date set for hearing
                                         on confirmation of plan. Meeting of Creditors to be Held on
                                         6/20/2018 at 03:00 PM at 51 SW First Ave Room 1021, Miami.
                                         Deadline to File a Complaint to Determine Dischargeability of
                                         Certain Debts is 8/20/2018. Proofs of Claim due by 9/18/2018

     05/29/2018      13                  Ch 11 Case Management Summary


     5/29/2018       14                  Initial Schedules Filed: [Schedule J,]


                                                             1
                                      LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
       3200 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 • TELEPHONE (305) 358-6363
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     5/29/2018       15                  Statement of Operations for Small Business


     5/29/2018       16                  Monthly Operating Report

     5/29/2018       17                  Initial Schedules Filed: [Schedule H,]


     5/29/2018       18                  Declaration regarding Payment Advices

     5/29/2018       20                  Declaration Regarding Debtor’s schedules


     5/29/2018       22                  Chapter 11 Statement of Your Current Monthly Income and
                                         Calculation of Commitment Period Form 122B Filed by Debtor
                                         Nubia Marcella Perez

     6/1/2018        30                  Initial Schedules Filed: [Schedule A/B, Schedule D, Schedule
                                         G, Schedule H,]

     6/6/2018        34                  Declaration Concerning Schedules Conforming to Official
                                         Bankruptcy Form 106 or 202

     6/11/2018       36                  Initial Schedules Filed: [Statement of Financial Affairs]

     6/22/18         46                  Motion to Dismiss Case, or in the alternative Motion to Convert
                                         Chapter 11 Case to Chapter 7

     6/29/2018       52                  Omnibus order on Landlord's Motion to Dismiss Chapter 11
                                         Bankruptcy Petition for Bad Faith and Fraud on the Court and
                                         For Relief from the Automatic Stay

     9/28/2018       76                  Order Denying Debtor's Motion to Cancel and Reschedule the 2
                                         P.M. September 28, 2018

     9/28/2018       88                  Exhibit Register Filed by Creditors Andrea Holland, Brian
                                         Holland (Re: 25 Motion for Sanctions Pursuant to FRBP 9011
                                         Attorney Misconduct Against Debtor and Debtor's Counsel and
                                         11 U.S.C. § 105 filed by Creditor Brian Holland, Creditor
                                         Andrea Holland)

     9/28/2018       Admitted            Landlord requests that the Court transmit a copy of exhibit
                     Exhibits            numbers 1, 6, 7, 8, 11, 14, 17, 18, 19, 21, 22, 22A, 23, 24, and
                     Noted in 88         25, which are shown as admitted in ECF No. 88
     11/16/2018      119                 Transcript of 9/28/2018 Hearing


                                                             2
                                      LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
       3200 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 • TELEPHONE (305) 358-6363
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     11/21/18        123                 Order Granting Motion to Vacate Dismissal of Appeal and
                                         Denying Request to Stay (Re: # 118). The Appeal 18-CV-
                                         24463-FAM shall proceed in due course.

     12/13/18        127                 Motion to Vacate or Amend Re: 91 Findings of Fact and
                                         Conclusions of Law Filed by Debtor Nubia Marcella Perez

     12/13/18        128                 Motion for Re-Hearing on Denial of the Emergency
                                         (Re: 117 Motion to Stay Pending Appeal) Filed by Debtor
                                         Nubia Marcella Perez


       Dated: December 17, 2018.


                                                         s/ Peter D. Russin
                                                         Peter D. Russin, Esquire
                                                         Florida Bar No. 765902
                                                         prussin@meladnrussin.com
                                                         Utibe I. Ikpe, Esq.
                                                         Florida Bar Number: 90301
                                                         uikpe@melandrussin.com
                                                         MELAND RUSSIN & BUDWICK, P.A.
                                                         3200 Southeast Financial Center
                                                         200 South Biscayne Boulevard
                                                         Miami, Florida 33131
                                                         Telephone: (305) 358-6363
                                                         Telecopy: (305) 358-1221
                                                         Attorneys for Brian Holland and Andrea Holland




                                                             3
                                      LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
       3200 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 • TELEPHONE (305) 358-6363
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                                         CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a true and correct copy of the foregoing was served on

    December 17, 2018, via the Court’s Notice of Electronic Filing upon registered Users listed on the

    attached hereto as Exhibit 1.

                                                         s/ Peter D. Russin
                                                         Peter D. Russin, Esquire




                                                             4
                                      LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
       3200 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 • TELEPHONE (305) 358-6363
Case 1:18-cv-24463-FAM Document 12-2 Entered on FLSD Docket 01/11/2019 Page 5 of 114




    Electronic Mail Notice List

    The following is the list of parties who are currently on the list to receive email notice/service
    for this case.

          Johanna Armengol Johanna.Armengol@usdoj.gov, johanna.armengol@usdoj.gov
          Utibe I Ikpe uikpe@melandrussin.com,
           ltannenbaum@melandrussin.com;mrbnefs@yahoo.com
          Thomas G Neusom tgnoffice35@gmail.com
          Office of the US Trustee USTPRegion21.MM.ECF@usdoj.gov
          Nathalie C. Rodriguez nrodriguez@rasflaw.com
          Peter D. Russin prussin@melandrussin.com,
           ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltan
           nenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com
          Howard S Toland htoland@mitrani.com




                                                                                          EXHIBIT 1
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      1
      2       IN THE BANKRUPTCY COURT FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  MIAMI-DADE COUNTY
      3
      4                                            CASE NO. 18-15825-AJC
           DEBTOR
      5
      6    NUBIA PEREZ
                                                   DEBTOR’S CREDITOR MATRIX
      7    A PLUS LAMINATION
      8                                            Hearing
      9
                                                   Date:
     10
                                                   Time:
     11
                                                   Place:
     12
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     14
     15
     16     Valley National Bank -2625
            Newtek Small Business
     17     Finance, LLC
            P.O BOX 2006
     18     HICKSVILLE, NY 11802

     19
            MATT D. GOLDMAN TRUST
     20     ACCOUNT
            7190 SW 100 Street
     21     Miami Florida 33156

     22
            Valley National Bank Loan
     23     2198 small Street
            P O Box 952
     24     Wayne, NJ 07474-0952

     25     Brian Holland
            13105 NW Le Jeune Road
            Opa Locka,, FL 33054
     26
     27
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            UNIVERSAL PRESSROOM
      1     PRODUCTS LLC
            P.O. BOX 1697
      2     Woodstock, GA 30188

      3     MIAMI-DADE COUNTY TAX
            COLLECTOR
      4     140 West Flagler Street
            14th Floor
      5     Miami, FL 33130-1519

      6     COSMO CLAIM 2018
            ROSENFELD STEIN BATTA,P.A
      7     21490 WEST DIXIE HIGHWAY
            AVENTURA ,FLORIDA 33180
      8
            INTERNAL REVENUE SERVICE
      9     P.O. BOX 80110
            CINCINNATI, OH 45280-0110
     10
            DISTRIGRAPH INC.
     11     Gabriel Fernandez
            5248 SW 93rd Ave
     12     Cooper City , FL 33328

     13     NUBIA PEREZ LOANS
            5559 NW 36th avenue
     14     Miami Florida 33142

     15
            D & K INTERNATIONAL, INC.
     16     RYAN E. SPRECHMAN
            2775 SUNNY ISLE BLVD
     17     SUITE 100
            MIAMI FL 33160-4007
     18
     19     Francisco Gabriel Perez
            LOAN
     20     3845 SW 149th Place
            Miami Florida 33185
     21
            D & K CLAIM
            RYAN E. SPRECHMAN
     22     2775 SUNNY ISLE BLVD
            SUITE 100
     23     MIAMI FL 33160-4007
     24
            Actega North America, Inc.
     25     26537 Network Place
            Chicago Il 60673-1265
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                                     114




     1      Santander Consumer USA
            P.O. Box 660633
     2      Dallas, TX 75266-0633

     3      Capital One Bank
            P.O. Box 71083
     4      Charlotte, NC 28272-1083

     5      Transilwrap Company, Inc.
            9201 W Belmont Avenue
     6      Franklin Park, IL 60131

     7      Vencol
            8209 NW 70th Street
     8      Miami, FL 33166

     9      Nobelus LLC
            P O Box 639027
    10      Cincinnati, OH 45263-9027

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    14
         Dated: May 23, 2018:
    15
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    17
    18                                           By:/s/Thomas Neusom
                                                 Attorney For Debtor
    19                                           Bar No. 0037178
                                                 4737 N. Ocean Drive, #129
    20                                           Fort Lauderdale, FL 33308
                                                 Email: tgnoffice35@gmail.com
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                                     114




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     3                          CERTIFICATE OF SERVICE
     4   I HEREBY CERTIFY that a true and correct copy of the foregoing DEBTORS CREDITOR
         MATRIX was furnished by email to the efiling portal service list on May 23, 2018.
     5
     6
                                                      By:/s/Thomas Neusom
     7                                                Attorney For Debtor
     8                                                Bar No. 0037174
                                                      4737 N. Ocean Drive, #129
     9                                                Fort Lauderdale, FL 33308
                                                      Email: tgnoffice35@gmail.com
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  Valley National Bank -2625
  Newtek Small Business Finance, LLC
  P.O BOX 2006
  HICKSVILLE, NY 11802



  MATT D. GOLDMAN TRUST ACCOUNT
  7190 SW 100 Street
  Miami Florida 33156


  Valley National Bank Loan
  2198 small Street
  P O Box 952
  Wayne, NJ 07474-0952



  Brian Holland
  13105 NW Le Jeune Road
  Opa Locka,, FL 33054



  UNIVERSAL PRESSROOM PRODUCTS LLC
  P.O. BOX 1697
  Woodstock, GA 30188



  MIAMI-DADE COUNTY TAX COLLECTOR
  140 West Flagler Street 14th Floor
  Miami, FL 33130-1519



  COSMO CLAIM 2018
  ROSENFELD STEIN BATTA,P.A
  21490 WEST DIXIE HIGHWAY
  AVENTURA,FLORIDA 33180


  INTERNAL REVENUE SERVICE
  P.O. BOX 80110
  CINCINNATI, OH 45280-0110



  DISTRIGRAPH INC.
  Gabriel Fernandez
  5248 SW 93rd Ave
  Cooper City , FL 33328
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                                     114




  NUBIA PEREZ LOANS
  5559 NW 36th avenue
  Miami Florida 33142


  D & K INTERNATIONAL, INC.
  RYAN E. SPRECHMAN
  2775 SUNNY ISLE BLVD, SUITE 100

  MIAMI FL 33160-4007



  Francisco Gabriel Perez Loan
  3845 SW 149th Place
  Miami Florida 33185



  D & K CLAIM
  RYAN E. SPRECHMAN
  2775 SUNNY ISLE BLVD SUITE 100

  MIAMI FL 33160-4007


  Actega North America, Inc.
  26537 Network Place
  Chicago Il 60673-1265



  Santander Consumer USA
  P.O. Box 660633
  Dallas, TX 75266-0633



  Capital One Bank
  P.O. Box 71083
  Charlotte, NC 28272-1083



  Transilwrap Company, Inc.
  9201 W Belmont Avenue
  Franklin Park, IL 60131
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                                     114




  Vencol
  8209 NW 70th Street
  Miami, FL 33166



  Nobelus LLC
  P O Box 639027
  Cincinnati, OH 45263-9027
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     1
     2         IN THE BANKRUTCY C OURT OF THE SOUTHERN DISTRICT OF FLORIDA
     3
     4                                                           CASE NO. 18-15825-AJC
          DEBTOR
     5
          A PLUS LAMINATION.
     6                                                           CHAPTER 11 LIST OF TOP 20
                                                                 UNSECURED CREDITORS
     7
     8
                                                                 Hearing
     9
    10                                                           Date:
    11                                                           Time:
    12                                                           Place:
    13
    14
    15
    16
    17         Debtors List of Twenty Largest Unsecured Creditors

    18                      Vendors                Current       1 - 30    31 - 60    61 - 90      > 90        TOTAL
           Valley National Bank -2625
    19     Newtek Small Business Finance, LLC
           P.O BOX 2006
    20     HICKSVILLE, NY 11802

           Trade Debt, Unliquidated,                                0.00       0.00       0.00   798,618.32   798,618.3
    21
    22     MATT D. GOLDMAN TRUST ACCOUNT
           7190 SW 100 Street
    23     Miami Florida 33156
           305-662-1422
    24     Trade Debt, Unliquidated                   0.00          0.00       0.00       0.00   230,750.00   230,750.0

    25     Valley National Bank Loan -2198 small
           P O Box 952
    26     Wayne, NJ 0474-0952                        0.00          0.00       0.00       0.00   103,418.55   103,418.5


    27
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                                     114




     1
           Brian Holland
     2     13105 NW Le Jeune Road
           Opa Locka,, FL 33054
     3
           Trade Debt, Unliquidated, $41,544.00

     4
     5     UNIVERSAL PRESSROOM PRODUCTS LLC
           P.O. BOX 1697
           Woodstock, GA 30188                    0.00        0.00      0.00             23,695.65   23,695.6
     6
           Trade Debt, Unliquidated
     7
           MIAMI-DADE COUNTY TAX COLLECTOR
     8     TANGIBLE PERSONAL PROPERTY
           140 West Flagler Street 14th Floor
     9     Miami, FL 33130-1519                   0.00   16,478.09      0.00      0.00    2,669.73   19,147.8

           Government Tax
    10
    11
           COSMO CLAIM 2018
           ROSENFELD STEIN BATTA,P.A
    12     21490 WEST DIXIE HIGHWAY
           AVENTURA ,FLORIDA 33180
    13     305-895-6680                           0.00   18,692.54      0.00      0.00        0.00   18,692.5

           Trade Debt, Unliquidated
    14
    15
           INTERNAL REVENUE SERVICE
           P.O. BOX 80110
    16     CINCINNATI, OH
           45280-0110                             0.00        0.00      0.00      0.00   14,935.57   14,935.5
    17
           Government Tax

    18     DISTRIGRAPH INC.
           Gabriel Fernandez
    19     5248 SW 93rd Ave
           Cooper City , FL 33328                 0.00        0.00      0.00      0.00    7,956.17    7,956.1

    20     Trade debt, Unliquidated

    21
           NUBIA PEREZ LOANS
           5559 NW 36th avenue
    22     Miami Florida 33142

    23     Trade Debt, Unliquidated
                                                  0.00        0.00   7,100.00   236.94        0.00    7,336.9

    24     D & K INTERNATIONAL, INC.
           RYAN E. SPRECHMAN
    25     2775 SUNNY ISLE BLVD SUITE 100
           MIAMI FL 33160-4007
           305-931-0100                           0.00        0.00      0.00      0.00    4,500.00    4,500.0
    26
           Trade Debt, Unliquidated
    27
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           Francisco Gabriel Perez Loan
     1     3845 SW 149th Place
           Miami Florida 33185
     2     Trade Debt, Unliquidated, $3,750

     3
           D & K CLAIM
           RYAN E. SPRECHMAN
     4     2775 SUNNY ISLE BLVD SUITE 100
           MIAMI FL 33160-4007
     5     305-931-0100

           Trade Debt, Unliquidated
     6
                                               0.00          0.00       0.00      0.00   3,500.00   3,500.0
     7
           Actega North America, Inc.
     8     26537 Network Place
           Chicago Il 60673-1265               0.00          0.00       0.00      0.00   3,046.51   3,046.5
     9
           Trade debt, Unliquidated

    10
           Santander Consumer USA
    11     P.O. Box 660633
           Dallas, TX 75266-0633               0.00          0.00    2,541.83     0.00      0.00    2,541.8

    12     Trade debt, Unliquidated

    13
           Capital One Bank
    14     P.O. Box 71083
           Charlotte, NC 28272-1083           87.11          0.00       0.00    214.85   1,961.98   2,263.9
    15
           Bank Loan, Unliquidated

    16
    17     Transilwrap Company, Inc.
           9201 W Belmont Avenue
           Franklin Park, IL 60131             0.00          0.00       0.00      0.00   1,944.83   1,944.8
    18
                                                                        0.00      0.00      0.00

    19     Trade Debt, Unliquidated

    20
           Vencol
           8209 NW 70th Street
    21     Miami, FL 33166                     0.00       1,739.43      0.00      0.00      0.00    1,739.4

    22     Trade debt, Unliquidated


    23     Nobelus LLC
           P O Box 639027
    24     Cincinnati, OH 45263-9027           0.00          0.00       0.00      0.00   1,578.90   1,578.9


    25          Trade Debt, Unliquidated

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                                     114




     1
     2   Dated: May 23, 2018:
     3
     4
     5
     6                                           By:/s/Thomas Neusom
                                                 Attorney For Debtor
     7                                           Bar No. 0037178
                                                 4737 N. Ocean Drive, #129
     8                                           Fort Lauderdale, FL 33308
                                                 Email: tgnoffice35@gmail.com
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                                     114




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     6                           CERTIFICATE OF SERVICE
     7   I HEREBY CERTIFY that a true and correct copy of the foregoing LIST OF CREDITORS
         WITH LARGEST UNSECURED CLAIMS was furnished by email to the following on May
     8   23, 2018, to the parties on the efiling portal service list and to Defendants by email.
     9
    10
    11                                                  By:/s/Thomas Neusom
    12                                                  Attorney For Defendant
                                                        Bar No. 0037174
    13                                                  4737 N. Ocean Drive, #129
                                                        Fort Lauderdale, FL 33308
    14                                                  Email: tgnoffice35@gmail.com
    15
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                                       114
Information to identify the case:
Debtor 1              Nubia Marcella Perez                                                      Social Security number or ITIN           xxx−xx−9901
                      First Name   Middle Name    Last Name                                     EIN _ _−_ _ _ _ _ _ _
Debtor 2                                                                                        Social Security number or ITIN _ _ _ _
                      First Name   Middle Name    Last Name
(Spouse, if filing)
                                                                                                EIN     _ _−_ _ _ _ _ _ _
United States Bankruptcy Court             Southern District of Florida
                                                                                                Date case filed for chapter 11 5/15/18
Case number:          18−15825−AJC

Notice of Chapter 11 Bankruptcy Case
For the debtors listed above, a case has been filed under chapter 11 of the Bankruptcy Code.
This notice has important information about the case for creditors and debtors, including information about the
meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtors or the debtors' property. For example, while the stay is in effect, creditors cannot sue, garnish wages, assert a deficiency, repossess
property, or otherwise try to collect from the debtors. Creditors cannot demand repayment from debtors by mail, phone, or otherwise. Creditors who
violate the stay can be required to pay actual and punitive damages and attorney's fees. Under certain circumstances, the stay may be limited to 30 days
or not exist at all, although debtors can ask the court to extend or impose a stay.
Confirmation of a chapter 11 plan may result in a discharge of debt. Creditors who assert that the debtors are not entitled to a discharge of any debts or
who want to have a particular debt excepted from discharge may be required to file a complaint in the bankruptcy clerk's office within the deadlines
specified in this notice. (See boxes 7 and 9 below for more information.)
You may want to consult an attorney to protect your rights. The bankruptcy clerk's office staff cannot give legal advice.
To help creditors correctly identify debtors, debtors must submit full Social Security or Individual Taxpayer Identification Numbers, which may
appear on a version of this notice. However, the full numbers must not appear on any document filed with the court.
Do not file this notice with any proof of claim or other filing in the case. Do not include more than the last four digits of a Social Security or
Individual Taxpayer Identification Number in any document, including attachments, that you file with the court.
WARNING TO DEBTOR: WITHOUT FURTHER NOTICE OR HEARING THE COURT MAY DISMISS YOUR CASE FOR FAILURE TO TIMELY PAY
FILING FEE INSTALLMENTS, FAILURE TO APPEAR AT THE MEETING OF CREDITORS OR FAILURE TO TIMELY FILE REQUIRED SCHEDULES,
STATEMENTS OR LISTS, AND FOR FAILURE TO FILE PRE−BANKRUPTCY CERTIFICATION OF CREDIT COUNSELING OR FILE WAGE
DOCUMENTATION.

                                            About Debtor 1:                                                 About Debtor 2:
 1. Debtor's Full Name                      Nubia Marcella Perez

 2. All Other Names Used
    in the Last 8 Years                     dba A Plus Lamination & Finishing Inc


 3. Address                                 5559 NW 36 Ave
                                            Miami, FL 33142

    Debtor's Attorney                       Thomas G Neusom                                               Contact phone
 4. (or Pro Se Debtor)                      4737 N. Ocean Drive, #129                                    __________________________
     Name and address                       Fort Lauderdale, FL 33308

 5. Bankruptcy Clerk's                      US Bankruptcy Court                                             Hours open 8:30 a.m. − 4:00 p.m.
    Divisional Office Where                 301 North Miami Avenue, Room 150                                Contact phone (305) 714−1800
    Assigned Judge is                       Miami, FL 33128
    Chambered
     Documents filed conventionally in paper may be filed at any bankruptcy clerk's office location.       Note: The clerk's office is closed on all
     Documents may be viewed in electronic format via CM/ECF at any clerk's office public terminal         legal holidays.
     (at no charge for viewing) or via PACER on the internet accessible at www.pacer.gov (charges
     will apply). Case filing and unexpired deadline dates can be obtained by calling the Voice Case
     Information System toll−free at (866) 222−8029. As mandated by the Department of Homeland
     Security, ALL visitors (except minors accompanied by an adult) to any federal building or
     courthouse, must present a current, valid, government issued photo identification (e.g. drivers'
     license, state identification card, passport, or immigration card.)
                                                                                                           Clerk of Court: Joseph Falzone
                                                                                                           Dated: 5/24/18

     * MEETING OF CREDITORS * June 20, 2018 at 03:00 PM                                                   **LOCATION:

     Debtors must attend the meeting to     The meeting may be continued or adjourned to a later          Claude Pepper Federal Bldg, 51 SW
 6. be questioned under oath. In a joint    date. If so, the date will be on the court docket.            First Ave Room 1021, Miami, FL 33130
     case, both spouses must attend.
     Creditors may attend, but are not
     required to do so.

                                                                                                           For more information, see page 2 >
Local Form 309E USBC SDFL (For Individuals or Joint Debtors) (03/09/18)             Notice of Chapter 11 Bankruptcy Case                               page 1
  Case 1:18-cv-24463-FAM Document 12-2 Entered on FLSD Docket 01/11/2019 Page 21 of
                                       114
Debtor Nubia Marcella Perez                                                                                                    Case number 18−15825−AJC

7. Deadlines                          File by the deadline to object to discharge or to challenge Filing deadline for complaint under
    The bankruptcy clerk's office    whether certain debts are dischargeable:                                               §1141(d)(3): First date set for hearing
    must receive these documents                                                                                            on confirmation of plan. The court will
    and any required filing fee                                                                                             send you a notice of that date later.
    by the following deadlines.      You must file a complaint:
    Writing a letter to the court or                                                                                        Filing deadline for
    judge is not sufficient.              • ifdischarge
                                                you assert that the debtor is not entitled to receive a
                                                        of any debts under 11 U.S.C. § 1141(d)(3)
                                                                                                                            dischargeability
    See box 9 for more information.                                                                                         complaints: 08/20/2018
                                                  or
                                               • ifunder
                                                    you want to have a debt excepted from discharge
                                                         11 U.S.C. § 523(a)(2), (4), or (6).


                                      Deadline for filing proof of claim:               9/18/18                             For a governmental unit: 11/13/18
                                      A proof of claim is a signed statement describing a creditor's claim. A proof
                                      of claim form may be obtained at www.uscourts.gov or any bankruptcy
                                      clerk's office.
    When Filing Proofs of
    Claim:                           Your claim will be allowed in the amount scheduled unless:
    Claims may be delivered or
    mailed to the clerk's office.
                                               • your  claim is designated as disputed, contingent, or unliquidated;
    Creditors with internet access
                                               • you  file a proof of claim in a different amount; or
    have the option to use the
    electronic claims filing program           • you receive another notice.
    on the court website at
    www.flsb.uscourts.gov to         If your claim is not scheduled or if your claim is designated as disputed,
    electronically file a proof of   contingent, or unliquidated, you must file a proof of claim or you might not
    claim.                           be paid on your claim and you might be unable to vote on a plan. You may
                                     file a proof of claim even if your claim is scheduled. Secured creditors retain
                                     rights in their collateral regardless of whether they file a proof of claim.
                                     Filing a proof of claim submits a creditor to the jurisdiction of the bankruptcy
                                     court, with consequences a lawyer can explain. For example, a secured
                                     creditor who files a proof of claim may surrender important nonmonetary
                                     rights, including the right to a jury trial. The deadline for filing objections to
                                     claims will be established pursuant to Local Rule 3007−1(B)(1).

                                      Filing Deadline for a Creditor with a Foreign Address: The deadlines for
                                      filing proofs of claim in this notice apply to all creditors. If you are a creditor
                                      receiving a notice mailed to a foreign address, you may file a motion asking
                                      the court to extend the deadline to file a proof of claim. Consult an attorney
                                      familiar with United States bankruptcy law if you have any questions about
                                      your rights in this case.


                                      Deadline to object to exemptions:                                                     Filing Deadline:
                                      The law allows debtors to keep certain property as exempt. Fully exempt               30 days after the conclusion of the
                                      property will not be sold and distributed to creditors, even if the case is           meeting of creditors, or within 30 days
                                      converted to chapter 7. Debtors must file a list of property claimed as               of any amendment to the list of
                                      exempt. You may inspect that list at the bankruptcy clerk's office or online          supplemental schedules, unless as
                                      at www.pacer.gov. If you believe that the law does not authorize an                   otherwise provided under Bankruptcy
                                      exemption that the debtors claim, you may file an objection. The                      Rule 1019(2)(B) and Local Rule
                                      bankruptcy clerk's office must receive the objection by the deadline to               4003−1(B) for converted cases.
                                      object to exemptions.
                                       Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the court
                                       confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan, and you may
8. Filing a Chapter 11
   Bankruptcy Case
                                       have the opportunity to vote on the plan. You will receive notice of the date of the confirmation hearing, and you
                                       may object to confirmation of the plan and attend the confirmation hearing. Unless a trustee is serving, the debtor
                                       will remain in possession of the property and may continue to operate the debtor's business.
                                       Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of a debt. See
                                       11 U.S.C. § 1141(d). However, unless the court orders otherwise, the debts will not be discharged until all
                                       payments under the plan are made. A discharge means that creditors may never try to collect the debt from the
                                       debtors personally except as provided in the plan. If you believe that a particular debt owed to you should be
                                       excepted from the discharge under 11 U.S.C. § 523 (a)(2), (4), or (6), you must file a complaint and pay the filing
                                       fee in the bankruptcy clerk's office by the deadline in box 7. If you believe that the debtors are not entitled to a
9. Discharge of Debts                  discharge of any of their debts under 11 U.S.C. § 1141 (d)(3), you must file a complaint and pay the filing fee in the
                                       clerk's office by the first date set for the hearing on confirmation of the plan. The court will send you another notice
                                       telling you of that date. Prior to receiving a discharge, the debtor must file and serve the Local Form "Notice of
                                       Deadline to Object to Debtor's Statement Re: 11 U.S.C. §522(q)(1) Applicability, Payment of Domestic Support
                                       Obligations, and [For Chapter 11 Cases Only] Applicability of Financial Management Course and Statement
                                       Regarding Eligibility to Receive a Discharge", as required under Local Rule 4004−3(A)(4).

    Option to Receive
                                       1) EBN program open to all parties. Register at the BNC website ebn.uscourts.gov, OR 2) DeBN program open to
10. Notices Served by the
    Clerk by Email Instead
                                       debtors only. Register by filing with the Clerk of Court, Local Form "Debtor's Request to Receive Electronically
                                       Under DeBN Program". There is no charge for either option. See also Local Rule 9036−1(B) and (C).
    of by U.S. Mail
                                        Language interpretation of the meeting of creditors will be provided to the debtor at no cost, upon request to the
11. Translating Services                trustee, through a telephone interpreter service. Persons with communications disabilities should contact the U.S.
                                        Trustee's office to arrange for translating services at the meeting of creditors.

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      Case 1:18-cv-24463-FAM Document 12-2 Entered on FLSD Docket 01/11/2019 Page 33 of
                                           114
 Fill in this information to identify your case:

 Debtor 1          __________________________________________________________________
                     First Name                     Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                     Middle Name                 Last Name


                                         __________
 United States Bankruptcy Court for the: __________   District
                                                    District     of __________
                                                             of ________

 Case number         ____________________________________________
  (If known)
                                                                                                                                             Check if this is an
                                                                                                                                               amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                               12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
       No
       Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
       No. Go to line 3.
       Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
         No
         Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.

                 ______________________________________________________________________
                 Name of your spouse, former spouse, or legal equivalent

                 ______________________________________________________________________
                 Number             Street

                 ______________________________________________________________________
                 City                                             State                     ZIP Code


 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                            Column 2: The creditor to whom you owe the debt

                                                                                                          Check all schedules that apply:
3.1
         ________________________________________________________________________________
         Name
                                                                                                           Schedule D, line ______
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number            Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.2
         ________________________________________________________________________________
         Name
                                                                                                           Schedule D, line ______
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number            Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code

3.3
         ________________________________________________________________________________
         Name
                                                                                                           Schedule D, line ______
         ________________________________________________________________________________
                                                                                                          Schedule E/F, line ______
         Number            Street                                                                          Schedule G, line ______
         ________________________________________________________________________________
         City                                                        State                   ZIP Code



Official Form 106H                                                           Schedule H: Your Codebtors                                          page 1 of ___
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                                            114
 Debtor 1         _______________________________________________________                        Case number (if known)_____________________________________
                  First Name     Middle Name         Last Name




                 Additional Page to List More Codebtors

       Column 1: Your codebtor                                                                        Column 2: The creditor to whom you owe the debt

                                                                                                      Check all schedules that apply:
 3._
        ________________________________________________________________________________
        Name
                                                                                                        Schedule D, line ______
                                                                                                       Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                          Schedule G, line ______
        ________________________________________________________________________________
        City                                                State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                        Schedule D, line ______
                                                                                                       Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                          Schedule G, line ______
        ________________________________________________________________________________
        City                                                State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                        Schedule D, line ______
                                                                                                       Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                          Schedule G, line ______
        ________________________________________________________________________________
        City                                                State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                        Schedule D, line ______
                                                                                                       Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                          Schedule G, line ______
        ________________________________________________________________________________
        City                                                State                   ZIP Code
 3._
        ________________________________________________________________________________
        Name
                                                                                                        Schedule D, line ______
                                                                                                       Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                          Schedule G, line ______
        ________________________________________________________________________________
        City                                                State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                        Schedule D, line ______
                                                                                                       Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                          Schedule G, line ______
        ________________________________________________________________________________
        City                                                State                   ZIP Code

 3._
        ________________________________________________________________________________
        Name
                                                                                                        Schedule D, line ______
                                                                                                       Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                          Schedule G, line ______
        ________________________________________________________________________________
        City                                                State                   ZIP Code
 3._
        ________________________________________________________________________________
        Name
                                                                                                        Schedule D, line ______
                                                                                                       Schedule E/F, line ______
        ________________________________________________________________________________
        Number          Street                                                                          Schedule G, line ______
        ________________________________________________________________________________
        City                                                State                   ZIP Code


               Print                           Save As...                Add Attachment                                                    Reset
Official Form 106H                                                  Schedule H: Your Codebtors                                              page ___ of ___
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                      UNITED STATES BANKRUPTCY     COURT
                        SOUTHERN DISTRICT OF FLORIDA
                                           www.flsb.uscourts.gov

  In re:                                                           Case No. 18-15825
                                                                   Chapter 11
  A PLUS LAMINATION



                    Debtor           /

                          DECLARATION REGARDING PAYMENT ADVICES

  Debtor:

           Copies of all payment advices, pay stubs or other evidence of payment received by the
           debtor from any employer within 60 days prior to the filing of the bankruptcy petition are
           attached. (Note: If you worked some, but not all of the 60 days prior, attach copies of any
           and all received and provide explanation that you didn’t work the full 60 days.
                                                                                                     )

           Copies of all payment advices are not attached because the debtor had no income from
           any employer during the 60 days prior to filing the bankruptcy petition.

           Copies of all payment advices are not attached because the debtor:
             receives disability payments
             is unemployed and does not receive unemployment compensation
             receives Social Security payments
             receives a pension
             does not work outside the home
             is self employed and does not receive payment advices

           None of the statements above apply, however, the debtor is unable to timely provide
           some or all copies of payment advices or other evidence of payment received
           Explain:

  Joint Debtor (if applicable):

           Copies of payment advices, pay stubs or other evidence of payment received by the joint
           debtor from any employer within 60 days prior to the filing of the bankruptcy petition are
           attached. (Note: If you worked some, but not all of the 60 days prior, attach copies of any
           and all received and provide explanation that you didn’t work the full 60 days.
                                                                                                     )

           Copies of payment advices are not attached because the joint debtor had no income from
           any employer during the 60 days prior to filing the bankruptcy petition.




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           Copies of payment advices are not attached because the joint debtor:
              receives disability payments
              is unemployed and does not receive unemployment compensation
              receives Social Security payments
              receives a pension
              does not work outside the home
              is self employed and does not receive payment advices

            None of the statements above apply, however, the joint debtor is unable to timely
           provide some or all copies of payment advices or other evidence of payment received
           Explain:



  NOTE: When submitting copies of evidence of payment such as pay stubs or payment advices,
  it is your responsibility to redact (blackout) any social security numbers, names of minor
  children, dates of birth or financial account numbers before attaching for filing with the
  court. See Local Rule 5005-1(A)(2).

                                                              Date:
  Signature of Attorney or Debtor

                                                              Date:
  Signature of Joint Debtor, if applicable




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    B6 Declaration (CWficial Form 6 - Declaration) (12107)
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             A Plus Lamination Finishing Inc .
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                                        Debtor                                                                                               °"




                            D E C L A R A T I O N CONCERNING DEBTOR'S S C H E D U L E S

                                              D E C L A R A T I O N U N D E R P E N A L T Y O F P E R J U R Y BY I N D I V I D U A L D E B T O R


         I tleclare undtH- pitnaJty of ptnjury that 1 have read the foiegoing summary and schedules, consisting of           sheets. andAal they are truejnd correct to the best of
    ray knowledge, infotmation, and belief


    Date        </7,7./Z^/9-

    Date




                           DECLARATION AND SIGNATURE OF NON-ATTORNETV BANKRUPTCY PCTTnON PREPARER (See I I VS.C. S 110)
      I declare under peiwlty of perjury thai: (I )la.Tt a h«*nipit7pe«io« preparer as defined in I I U^.C. § 110; (2) 1 prepared this document for compensation and have provided
    the debtor with a copy of this documett! and the notkwjiidiiifcnaatiao retpiired under 11 U.S.C. §§ 110(b). 110(h) and 342(b): and. (3) if rules or guidelines have been
    promulgated pursuant to 11 U.S.C. { n "Xh) ^ ' " f » mariiraim fee fnr eervieet rhargeahle hy hanirmpicy petition preparers, 1 have given the debtor notice of the masimum
    anrount before preparing any documeia for fiiing for a debtor or accepting any fee from the debtor, as required by thai section.

     Cathey Ware (Business Assist) AssistecJ                                      466-11-601
    Printed or Typed Name and Title, if any.                                     Social Security No.
    of Bankruptcy Petition Preparer                                              (Required by 11 U.S-C. § 110.)

    If the bankruptcy petition preparer is not an individual, slate the name, title Of any), address, and social security number of the officer, principal, responsible person, or partner
    who signs Ihb document.
    Assisted With gathenng
    information only                                          ^                                                                                                                 /-
Address/
            L   kJ^             I / / e, A n           I I
                                                                                                      05/22/2018
 Signature
     latuie of Bankrupted Petition Preparer            y ^                                           Date


Names and Social Security munbeis of all other iodmduals aho prepared or assisted in preparing this document, unless the bankruptcy petition preparer is not a.n indisidsial:

If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.


A bank/upicy petiiiort preparer's Jnilure to aOMptv with the provisions of title It and tlie Federat Rules of Bankruptcy Procedure may result in fines or imprisonment or ttoth. It l/SC,§ 110;
ISU.S.C§IS6.


                DECLARATION UNDER P E N A L T Y O F P E R J U R Y ON B E H A L F O F A C O R P O R A T I O N O R PARTNTRSHIP



     I , the Nubia Marcella Perez                   ^ihe president or other officer or an authorized agent of the corporation or a member or an authorized agiml of the
partnership 1 of the A PIUS Lamination & Finishing [corporation or partnership) named as debtor in this case, declare under penalty of perjury that 1 have
read the foregoing summary and schedules, consisting of        sheets {Total shown on summary page plus I), and that they arc true and correct to the best of my
knowledge, information, and belief.


Date 05/22/2018
                                                                                  Signature:



                                                                                                 [Print or type name of Individual signing on behalf of debtor.)


[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]


Penaltyfor making a false statement or concealing properly: Fine of up to SSOO.OOO or imprisonment for up to 5 years or both. 18 U.S.C. §§ 152 and 3571.




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                          UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
                                  www.flsb.uscourts.gov

  In re:                                                        CHAPTER 11
  NUBIA MARCELLA PEREZ                          :               CASE NO. 18-15825-AJC
                      Debtor                    /

          UNITED STATES TRUSTEE’S MOTION TO DISMISS OR CONVERT CASE

         Daniel M. McDermott, United States Trustee for Region 21, pursuant to 11 U.S.C. §

  1112 (b), respectfully moves this Court to enter an order dismissing or converting this case, and

  in support states as follows:

         1.      Nubia Marcella Perez (the “Debtor”), filed a voluntary petition under chapter 11

  of the Bankruptcy Code on May 15, 2018. The allegations raised in this motion are based on

  information contained in the Debtor’s bankruptcy documents, communications between the

  office of the United States Trustee and counsel of record, and on the testimony elicited at the

  Section 341 Meeting of Creditors (the “Meeting of Creditors”).

         2.      It appears that the Debtor and counsel of record, Thomas G. Neusom (“Attorney

  Neusom”), were not in agreement as to the filing of this case. As stated below in more detail, it

  appears that the Debtor never intended to file a personal bankruptcy for herself. It appears that

  the Debtor intended to file a bankruptcy for her wholly owned corporation, A Plus Lamination &

  Finishing, Inc. (“A Plus”), a Florida corporation. This became evident to the United States

  Trustee early on in the case and confirmed at the Meeting of Creditors.

         3.      At the time of filing, A Plus occupied rental premises pursuant to a lease between

  A Plus and the landlord, Brian and Andrea Holland (the “Landlord”). The Debtor is not a party

  to the lease. Prior to the filing, A Plus had defaulted on the lease by failing to pay the March

  2018 rent and Landlord initiated an eviction action against A Plus in the County Court in and for
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  Miami-Dade County, Case No. 2018-008187-CC-05 (the “Eviction Action”). The Debtor was

  not a named defendant in the Eviction Action.

          4.      In the Eviction Action, A Plus was ordered to make certain deposits into the court

  registry on specific dates. A Plus failed to make a deposit due on May 14, 2018, and the Debtor,

  through counsel, filed the instant case on May 15, 2018, all along intending to file for A Plus to

  obtain the stay relief.

          5.      On May 25, 2018, the office of the United States Trustee contacted Attorney

  Neusom by E-mail to notify him that the Initial Debtor Interview (“IDI”) would be held on June

  13, 2018. The U.S Trustee also supplied a list of the operating, reporting, and financial reporting

  requirements, including forms and required certifications (“Guidelines”), that the Debtor needed

  to provide at the IDI.

          6.      Neither the Debtor nor Attorney Neusom appeared at the IDI or called the United

  States Trustee to inform that they would not be appearing. Upon a subsequent E-mail from the

  United States Trustee on June 13, 2018, Attorney Neusom stated he was unaware of the IDI and

  rescheduled same for June 19, 2018.

          7.      Prior to the rescheduled IDI, Attorney Neusom called the office of the United

  States Trustee with questions regarding the Guidelines. The Debtor’s employee/assistant, Cathey

  Ware (“Ms. Ware”), was also on the call. Ms. Ware indicated that she had the responsive

  documents, however, they were all for A Plus. While discussing the Guidelines, Ms. Ware

  clearly stated that the Debtor never intended to file a personal bankruptcy. At this time, it became

  clear to the United States Trustee that the Debtor intended Attorney Neusom to file a case for A

  Plus to stay the Eviction Proceedings. The Debtor did not produce any of the Guideline

  documents responsive as to her own bankruptcy.



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         8.      The Meeting of Creditors was held on June 20, 2018. The Debtor requested a

  Spanish interpreter since English is her second language. The United States Trustee was unable

  to conduct a proper inquiry of the Debtor and her finances at the Meeting of Creditors because

  all the information contained in the Debtor’s bankruptcy schedules, Statement of Financial

  Affairs and other filed documents contain information with regard to A Plus, and do not contain

  the requisite information pertaining to the Debtor. A Plus is not a debtor in bankruptcy.

         9.      At the Meeting of Creditors, the Debtor and Ms. Ware testified under oath about

  the facts leading up to the filing of the Debtor’s case. The allegations raised in this motion are

  based on information contained in the Debtor’s bankruptcy documents and on the testimony

  elicited at the Meeting of Creditors. The testimony was clear, that the Debtor never intended to

  file bankruptcy for herself, instead, that she always intended to file bankruptcy for A Plus.

         10.     The Debtor testified that she had never met Attorney Neusom, until the day of the

  Meeting of Creditors. Both the Debtor and Ms. Ware testified that they found Attorney Neusom

  by doing an on-line search and that all communications with him were over the telephone and E-

  mail. Mr. Neusom told Ms. Ware which bankruptcy forms to download and complete and Ms.

  Ware completed the forms in her own handwriting, and forwarded same to Attorney Neusom for

  filing. Upon information and belief, Ms. Ware is not an attorney and is not employed by

  Attorney Neusom.

         11.     The forms completed by Ms. Ware were handwritten with the name “A Plus

  Lamination and Finishing, Inc.” (See ECF 15, 30, 34, 36), further substantiating that the Debtor

  intended to file a bankruptcy case for A Plus. Consequently, the bankruptcy documents,

  including the schedules and Statement of Financial Affairs, have information pertaining to A

  Plus, not the Debtor. Attorney Neusom did not correct the forms or clarify the discrepancy with



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  the Debtor or Ms. Ware prior to filing the forms with the Court. It appears to the United States

  Trustee that Attorney Neusom did not properly advise the Debtor of her options and did not

  properly conduct his due diligence prior to filing the forms with the Court.

          12.      There are several procedural problems with this case attributed to Attorney

  Neusom: (a) he has filed multiple pleadings incorrectly listing the name of the Debtor as “A Plus

  Lamination” or “Nubia Perez, d/b/a A Plus Lamination” (See ECF 9, 10, 13, 19, 38, 39, 40); (b)

  he has not filed a retention application to be employed as Debtor’s counsel; (c) he has failed to

  comply with 11 U.S.C. §329(a) and Bankruptcy Rule 2016 by failing to disclose that the Debtor

  agreed to pay him a flat fee of $10,000 for the bankruptcy representation.

          13.      Furthermore, after filing the wrong case for the Debtor and not A Plus, Attorney

  Neusom seems to have caused the Debtor to file a suggestion of bankruptcy in the Eviction

  Action causing a stay of the Eviction Action. As stated above, the Debtor is not a named

  defendant in the Eviction Action.

                     Dismissal or Conversion Is Appropriate Under the Circumstances


          14.      Conversion or dismissal of Chapter 11 cases is governed by § 1112(b), which

  provides that a bankruptcy court shall convert or dismiss a case, whichever is in the best interests

  of creditors and the estate, if the movant establishes cause.

          15.      The term “cause” is not defined by the Bankruptcy Code, but § 1112(b)(4) lists

  sixteen (16) examples of cause which justify dismissal including, but not limited to, 1 the

  following:


                   (A)      Substantial or continuing loss to or diminution of the estate and the
                            absence of a reasonable likelihood of rehabilitation;

  1
   The examples set forth in this subsection are meant to be nonexclusive. See, In re Arm Ventures, LLC, 564 B.R.
  77, 82 (Bankr. S.D. Fla. 2017).

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                 (B)     Gross mismanagement of the estate;
                 (C)     Failure to maintain appropriate insurance that poses a risk to the estate or
                         to the public;
                 (D)     Unauthorized use of cash collateral substantially harmful to 1 or more
                         creditors;
                 (E)     Failure to comply with an order of the court;
                 (F)     Unexcused failure to satisfy timely any filing or reporting requirement
                         established by the Bankruptcy Code or by any rule applicable to the case
                         under Chapter 11;
                 (G)     Failure to attend the meeting of creditors convened under section 341(a) or
                         an examination ordered under rule 2004 of the Federal Rules of
                         Bankruptcy Procedure without good cause shown by the debtor;
                 (H)     Failure timely to provide information or attend meetings reasonably
                         requested by the United States trustee (or the bankruptcy administrator, if
                         any);
                 (I)     Failure timely to pay taxes owed after the date of the order for relief or to
                         file tax returns due after the date of the order for relief;
                 (J)     Failure to file a disclosure statement, or to file or confirm a plan, within
                         the time fixed by this title or by order of the court;
                 (K)     Failure to pay any fees or charges required under chapter 123 of title 28;
                 (L)     Revocation of an order of confirmation under section 1144;
                 (M)     Inability to effectuate substantial consummation of a confirmed plan;
                 (N)     Material default by the debtor with respect to a confirmed plan;
                 (O)     Termination of a confirmed plan by reason of the occurrence of a
                         condition specified in the plan; and
                 (P)     Failure of the debtor to pay any domestic support obligation that first
                         becomes payable after the date of the filing of the petition.

         16.     In this case, the record supports a finding of cause, at a minimum, under §§

  1112(b)(4)(C), and (H).

         17.     The Debtor failed to provide any of the Guideline documents to the United States

  Trustee. Pursuant to 11 U.S.C. § 1112(b)(4)(H), the failure to provide information requested by

  the United States Trustee is cause for conversion or dismissal.

         18.     Since the Debtor failed to disclose personal information in the bankruptcy

  documents (all information seems to be related to A Plus), the United States Trustee cannot

  ascertain, what insurance coverage, if any, the Debtor must maintain to protect the estate.




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  Pursuant to 11 U.S.C. § 1112(b)(4)(C), failure to maintain appropriate insurance is cause for

  conversion or dismissal.

           19.       The foregoing factors are indicative of the Debtor’s inability to manage her

  affairs and effectively maneuver through the reorganization process. There appears an absence

  of a reasonable likelihood of rehabilitation and an unlikely ability to effectuate a plan, and

  therefore, it is in the best interest of creditors and the estate that this case be dismissed or

  converted.

           WHEREFORE, the United States Trustee respectfully requests the entry of an order (a)

  dismissing or converting this case; (b) retaining jurisdiction to hear any matters with respect to

  Attorney Thomas Neusom’s conduct and representation of the Debtor in this case, including

  without limitation, examination of any fees paid and future appearances before this Court; and

  (c) for such other and further relief as may seem just and proper.

           I H E R E B Y CE R T IFY that I am admitted to the Bar of the United States District Court for the Southern District
  of Florida and that I am in compliance with all additional qualifications to practice before this Court as set forth in Local
  Rule 2090-1(A).


  Dated: June 22, 2018                                     Daniel M. McDermott
                                                           United States Trustee Region 21


                                                           By: /s/ Johanna P. Armengol
                                                           Johanna P. Armengol, Trial Attorney
                                                           Office of the United States Trustee
                                                           51 S.W. First Avenue Suite 1204
                                                           Miami, FL 33130
                                                           Tel: (305) 536-7285
                                                           Fax: (305) 536-7360
                                                           johanna.armengol@usdoj.gov




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                                  CERTIFICATE OF SERVICE

           I hereby certify that on June 22, 2018, a true and correct copy of the foregoing was
   served to the following, electronically through CM/ECF, on parties having appeared
   electronically in the instant matter:

     •   Thomas G Neusom tgnoffice34@gmail.com
     •   Peter D. Russin prussin@melandrussin.com,
         ltannenbaum@melandrussin.com;mrbnefs@yahoo.com;prussin@ecf.courtdrive.com;ltan
         nenbaum@ecf.courtdrive.com;phornia@ecf.courtdrive.com
     •   Howard S Toland htoland@mitrani.com

   and that a copy hereof shall be served by U.S. Mail, postage prepaid, on parties not
   appearing electronically:


         (no manual recipients)

                                                       /s/ Johanna P. Armengol
                                                        Johanna P. Armengol




                                                  7
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           ORDERED in the Southern District of Florida on June 28, 2018.




                                                                 A. Jay Cristol, Judge
                                                                 United States Bankruptcy Court
_____________________________________________________________________________
                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION
                                            www.flsb.uscourts.gov

          IN RE:                                                       CASE NO. 18-15825-AJC

          NUBIA MARCELLA PEREZ,                                        Chapter 11

                Debtor.
          ____________________________________/

              OMNIBUS ORDER ON (1) LANDLORD’S MOTION TO DISMISS CHAPTER 11
           BANKRUPTCY PETITION FOR BAD FAITH AND FRAUD ON THE COURT AND FOR
           RELIEF FROM THE AUTOMATIC STAY, (2) UNITED STATES TRUSTEE’S MOTION
          TO DISMISS OR CONVERT CASE, (3) DEBTOR’S MOTION TO DISMISS BANKRUPTCY
                CASE, AND (4) LANDLORD’S MOTION FOR SANCTIONS PURSUANT TO
                            BANKRUPTCY RULE 9011 AND 11 U.S.C. § 105

                   THIS MATTER came before the Court on June 27, 2018 at 11:00 a.m. upon (1) Brian Holland

          and Andrea Holland also known as Brian Holland 5561 Rent Account (“Landlord”) Motion to Dismiss

          the Chapter 11 Bankruptcy Petition for Bad Faith and Fraud on the Court and for Relief from the

          Automatic Stay [ECF 24]; (2) United States Trustee’s (“US Trustee”) Motion to Dismiss or Convert the

          Case [ECF 46]; (3) Debtor’s Motion to Dismiss Bankruptcy [ECF 49]; and (4) Landlord’s Motion for

          Sanctions Pursuant to Bankruptcy Rule 9011 and 11 U.S.C. § 105 [ECF 25]. The Court having heard

          argument from counsel, reviewed the motions, and having been duly advised in the premises, it is
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  ORDERED AND ADJUDGED as follows:

          1. The motions to dismiss [ECF 24 ,46, and 49] filed by Landlord, Trustee, and Debtor are

  GRANTED, and the Bankruptcy Petition is DISMISSED WITH PREJUDICE as to the filing of any

  bankruptcy petition in any federal bankruptcy court in the United States of America by the above-named

  Debtor for 180 days from entry of this Order.

          2. The motion for relief from stay [ECF 26] is DENIED AS MOOT.

          3. The Debtor’s Emergency Motion for Order to Release Garnished Funds to Debtor [ECF 42]

  is accordingly DENIED AS MOOT, and the hearing scheduled thereon is cancelled.

          4. The Debtor shall file any pending Monthly Operating Reports within fourteen (14) days of the

  entry of this Order and simultaneously pay the United States Trustee any unpaid sum due pursuant to

  28 U.S.C. Section 1930(a)(6).

          5. The Debtor shall pay the Bankruptcy Clerk of the Court any outstanding fees, costs and

  charges in connection with this case within fourteen (14) days of the entry of this Order.

          6. All rights regarding sanctions and bad faith conduct are reserved. The Court will conduct an

  evidentiary hearing on Landlord’s Motion for Sanctions pursuant to Bankruptcy Rule 9011 and 11

  U.S.C. § 105 [ECF 25] on July 27, 2018 at 2:00 p.m. in Courtroom 7, C. Clyde Atkins U.S. Courthouse,

  301 North Miami Avenue, Miami, Florida.

          7. Debtor and Landlord shall disclose all witnesses and exchange copies of all exhibits by July

  16, 2018.

          8. The U.S. Trustee may appear as an interested party and make arguments at the evidentiary

  hearing using any exhibit or witness that is disclosed by Debtor or Landlord. The U.S. Trustee is not

  required to prepare or distribute an independent witness or exhibit list.

          9. This Court shall retain jurisdiction to enforce the provisions of this Order.


                                                    ###
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  Submitted By (and amended by the Court):

  Utibe I. Ikpe, Esquire
  Florida Bar No. 90301
  uikpe@melandrussin.com
  MELAND RUSSIN & BUDWICK, P.A.
  Counsel for Brian Holland and Andrea Holland
  200 South Biscayne Boulevard, Ste 3200
  Miami, Florida 33131
  Telephone: (305) 358-6363
  Telefax: (305) 358-1221

  Copies furnished to:
  Utibe I. Ikpe, Esquire, is directed to serve copies of this Order on all parties in interest and to file a
  Certificate of Service.
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            ORDERED in the Southern District of Florida on September 28, 2018.




                                                                A. Jay Cristol, Judge
                                                                United States Bankruptcy Court
_____________________________________________________________________________




                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION
                                            www.flsb.uscourts.gov


          In re:                                                     Case No.: 18-15825-ACJ

          NUBIA MARCELLA PEREZ,                                      Chapter 11

                       Debtors.
          ____________________________________/

                         ORDER DENYING DEBTOR’S MOTION TO CANCEL AND
                         RESCHEDULE THE 2 P.M. SEPTEMBER 28, 2018 HEARING

                   THIS MATTER came before the Court on September 24, 2018 at 11:00 a.m. on Debtor’s

          Motion to Cancel and Reschedule the 2 p.m. September 28, 2018 Hearing (“Motion”) [ECF No.

          71]. The Court, having been advised of the issues and hearing the arguments of counsel, ORDERS

          AND ADJUDGES as follows:

                   1.    Debtor’s Motion [D.E. 71] is Denied.




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          2.      The evidentiary hearing on Creditors Brian and Andrea Holland’s Motion for

  Sanctions Pursuant to Bankruptcy Rule 9011 and 11 U.S.C. §105 [ECF No. 25] shall take place as

  previously scheduled on September 28, 2018 at 2:00 p.m.

                                                   ###

  Submitted By:
  Utibe I. Ikpe, Esquire
  Florida Bar No. 90301
  uikpe@melandrussin.com
  Meland Russin and Budwick
  3200 Southeast Financial Center
  200 South Biscayne Blvd.
  Miami, Florida 33131
  T: 305.358.6363
  F: 305.358.1221


  Copies furnished to:
  Utibe I. Ikpe, Esquire is directed to serve copies of this Order on all parties in interest and to file a
  Certificate of Service.




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,.   Case 1:18-cv-24463-FAM Document 12-2 Entered on FLSD Docket 01/11/2019 Page 83 of
                                ('        114
        !'"
         '




       In re:                                                                        Case No.: 18-15825-AJC

       NUBIA MARCELLA PEREZ,                                                         Chapter 11

                          Debtors.


                                                         EXHIBIT REGISTER

       Exhibits Submitted on Behalf of:

       [ ] Plaintiff      [ ] Defendant [ ] Debtor                 [X] Other:

       Date of Hearing/Trial:                  September 28, 2018 at 2:00 p.m.

       Type of Hearing/Trial:                  Landlord's Motion for Sanctions Pursuant to Bankruptcy Rule 9011
                                               and 11 U.S.C. § 105

       Submitted by:                           Brian Holland and Andrea Holland
                                               c/o Peter D. Russin, Esq. and
                                               Utibe I. Ikpe, Esq.
                                               Meland Russin & Budwick, P.A.
                                               200 South Biscayne Boulevard, Suite 3200
                                               Miami, Florida 33131
                                               Tel:    (305) 358-6363
                                               Fax: (305) 358-1221
                                               Email: prussin@melandrussin.com
                                                       uikpe@melandrussin.com


                                           '
        Exhibit        Descriution             \                                  Admitted        Refused   Not
                                                                                                            Introduced
        Number

              1.       Complaint for Tenant Eviction
                       dated 4-13-18
                                                                                    v
             2.        Motion for Order Directing Deposit of
                       Rent Into Registry of Court, Pursuant to
                       Section 83.232, Florida Statutes
                       dated 4-13-18
             3.        Answer and Affirmative Defenses
                       dated 4-24-18

                                                                       1
                                                   LAW OFFICES OF MELAND RUSSIN & BUDWICK, PA
             3200 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 •TELEPHONE (305) 358-6363
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    Exhibit      Descri12tion                                           Admitted        Refused      Not
    Number                                                                                           Introduced
      4.        Affidavit of Non-Payment of Rent
                Dated 4-25-18
      5.        Order Setting Mediation
                entered on 5-7-18                      '\.
      6.        Order Directing Deposit of Rent Into
                Registry of Court entered on 5-10-18
      7.

      8.
                Order of Bankruptcy Stay and Closing
                Case entered on 5-15-17
                Notice of Cancellation of Mediation
                                                                        """
                                                                        "'1
                scheduled on 5-15-18 dated 5-15-18                      "'1
      9.        Memo of Disposition entered on 5-17-18

      10.       Omnibus Order on ( 1) Landlord's Motion to
                Dismiss Chapter 11 Bankruptcy Petition for
                Bad Faith and Fraud on the Court and for
                Relief from the Automatic Stay, (2) United
                States Trustee's Motion to Dismiss or Convert
                Case, (3) Debtor's Motion to Dismiss
                Bankruptcy Case, and (4) Landlord's Motion
                for Sanctions Pursuant to Bankruptcy Rule
                9011and11 U.S.C. § 105 entered on 6-29-18
      11.       Motion for Entry of Default Final
                Judgment dated 7-2-18                                   'v
      12.       Motion for Order to Disburse Monies from
                Court Registry dated 7-2-18
      13.       Order to Disburse Monies from Court
                Registry entered on 7-30-18
      14.       Order Granting Motion to Lift Bankruptcy

      15.

      16.
                Stay entered on 7-3 0-18
                Default Final Judgment for Removal of
                Tenant entered on 7-30-18
                Memo of Disposition entered on 7-3 0-18
                                                                        ""'
      17.       Writ of Possession dated 7-31-18

      18.

     19.
               Condensed Transcript of 341 Meeting of
               Creditors held on 6-20-18
               Sunbiz search results for A Plus
                                                                       ""'v
                                                                     "'~
               Lamination & Finishing, Inc.
     20.       Lease Ledger dated 6-11-18




                                                           2
                                      LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
     3200 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 •TELEPHONE (305) 358-6363
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       Exhibit      DescriQtion                                            Admitted         Refused      Not
       Number                                                                                            Introduced
                                                                           \

                                                                                  \
         21.       Business Lease between Brian Holland and
                   Andrea Holland a.k.a. Brian Holland 5561
                   Rent Account and A Plus Lamination &
                   Finishing, Inc. dated 8-1-1 7
         22.       MRB's Invoices

         23.


         24.
                   Business Lease between Brian Holland and
                   Andrea Holland and American Spice
                   Trading Co., Inc. dated 7-1-18
                   Business Lease between Brian Holland and
                                                                                  "'\
                   Andrea Holland and American Spice
                   Trading Co., Inc. dated 9-1-18
                                                                           ~
                                                                          .....
         25.       Joseph R. Colletti, Esq.'s Notes
                   dated 5-15-18                                           "'1
         26.       APlus Lamination and Finishing, Inc.'s E-
                   mail Advertisement
                                                                                            "'\J
         27.       APlus Lamination and Finishing, Inc.'s
                   Contact Us Page
         28.       APlus Lamination and Finishing, Inc.'s
                   About Us Page                                                        '




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                       ~v-ppbWct\
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                                                                          ~                                      .      "'   '\.




                                                              3
                                         LAW OFFICES OF MELAND RUSSIN & BUDWICK, P.A.
        3200 SOUTHEAST FINANCIAL CENTER, 200 SOUTH BISCAYNE BOULEVARD, MIAMI, FLORIDA 33131 •TELEPHONE (305) 358-6363
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           ORDERED in the Southern District of Florida on November 21, 2018.




                                                   A. Jay Cristol, Judge
                                                   United States Bankruptcy Court
_____________________________________________________________________________
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        1

        2         IN THE BANKRUTCY APPELLATE COURT OF THE SOUTHERN DISTRICT OF
                                           FLORIDA
        3
        4
              DEBTOR                                            CASE NO: 18-15825
        5
                                                                APPEL LATE CASE NO.
        6     NUJBIA MAR ELLA PEREZ.
                                                                18-CV-24463-FAM
        7
     8                                                          MOTIO N TO VACATE OR AMEND THE
                                                                OCTOB ER 4, 2018 FINDIN GS OF FACT
     9                                                          AND CONCL USION S OF LAW; OR FOR
                                                                A STAY AND RECUS AL OF JUDGE A.
    10
                                                                JAYCR ISTOL
    11

    12
    13

   14
   15
            COME S NOW, Attorney Thomas Neuom requesting that Judge Cristo! amend or vacate
                                                                                                        the
   16       Findings Of Fact And Conclusions of Law Pursuant to Rule 60 or if Jurisdiction under 60
                                                                                                         is
            laking Rule 8008, or recuse himself from this case and enter a stay in the case until a new
                                                                                                        Judge
   17       is brought in during the pendency of the Appeal.
   18

   19
                                Rule 8008 . Indic ative Rulin gs
   20       (a) Relief Pending Appeal. If a party files a timely motion in the bankru ptcy
                                                                                            court
            for relief that the court lacks author ity to grant because of an appeal that has
   21                                                                                         been
            dockete d and is pendin g, the bankru ptcy court may:
   22           ( 1) defer conside ring the motion ;
   23           (2) deny the motion ; or

   24          (3) state that the court would grant the motion if the court where the appeal
                                                                                                is
             pending remand s for that purpos e, or state that the motion raises a substan
                                                                                           tial
   25        issue.

   26
   27
                                                            1
   28
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               (b) Notice to the Court Where the Appeal Is Pending. The mova
         1                                                                        nt must prom ptly
               notify the clerk of the court where the appeal is pendi ng if
                                                                             the bankr uptcy court
        2      states that it would grant the motio n or that the motio n raises
                                                                                 a subst antial issue.
        3
               (c) Remand After an Indica tive Ruling. If the bankr uptcy court
        4                                                                            states that it would
               grant the motio n or that the motio n raises a subst antial issue,
                                                                                     the distric t court or
              BAP may reman d for furthe r proce eding s, but it retain s jurisd
        5                                                                          iction unless it
              expre ssly dismisses the appeal. If the distric t court or BAP
                                                                                reman ds but retain s
        6     jurisd iction , the partie s must prom ptly notify the clerk of that
                                                                                    court when the
              bankr uptcy court has decided the motio n on reman d.
        7

        8
        9     A. REQUEST FOR RECUSAL

    10
              At this point, Judge Cristo! must recuse himse lf due to being disqualified
    11                                                                                    due to being
              sued and served by Plaintiff/Appellant Thomas N eusom. The case numbe
                                                                                          r of the suit against
    12        Judge A. Jay Cristo! and other Defendants is 1: 18CV24517. Neusom
                                                                                     waives disqualification for
              the limited purpose of Judge Cristol considering the relief requested
                                                                                    in this motion.
    13
             Neusom has received an email from the United States Attorn ey's Office
    14                                                                              which has raised issues
             regarding service. The email states:
    15
             On Wed, Dec 12, 2018 at 1:48 PM Erickson-Pogorzelski, Anthony (USAF
                                                                                 LS)
    16       <Anthony.Pogorzelski@usdoj.gov> wrote:

    17       Mr. Neusom,
   18        I have been assigned to the above captioned case. I have no record of
                                                                                      service upon my office
   19        yet. If you have perfected service pursuant to Rule 4(i) of the Federa
                                                                                    l Rules of Civil Procedure,
             please forward proof of service to me. If service has not been perfec
                                                                                   ted pursuant to Rule 4(i),
   20        please ensure that service is proper under the Federal Rules of Civil Proced
                                                                                           ure.
   21        Please note that pursuant to Rule 12(a)(2) the United States takes the
                                                                                    position that a response is
             only due 60 days after service upon the US Attorn ey's Office.
   22
   23        Anthony Erickson-Pogorzelski
             Assistant United States Attorney
   24        99 N.E. 4th Street
             Miami, FL 33132-2111
   25        (305) 961-9296
   26
   27
                                                              2
   28
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         1
        2      The Court will have to make the decision on how it wants to rule under the circum
                                                                                                 stances. Due
               to service and other issues the Court can likely rule on this motion.
        3

        4       Rule 5004. Disqualification
        5      (a) Disqua lificatio n of Judge. A bankruptcy judge shall be governed by 28 U.S.C.
                                                                                                    §455, and disqualified
               from presiding over the proceeding or contested matter in which the disqualifying
                                                                                                   circumstances arises or,
        6      if appropriate, shall be disqualified from presiding over the case.
               (b) Disqua lificatio n of Judge from Allowing Compe nsation . A bankruptcy
                                                                                             judge shall be disqualified
        7      from allowing compensation to a person who is a relative of the bankruptcy judge
                                                                                                   or with whom the judge
               is so connected as to render it improper for the judge to authorize such compen
                                                                                               sation.
        8     8 U.S. Code § 455 - Disqualification of justice,
        g     judge, or magistrate judg e
              •US Code
    10        •Notes
              prev I next
    11        (a)
    12        Any justice , judge, or magis trate judge of the United States shall disqua
                                                                                          lify himse lf
              in any proceeding in which his impar tiality might reason ably be questi
                                                                                        oned.
    13        (b) He shall also disqua lify himse lf in the follow ing circum stance
                                                                                     s:
              (1)
    14        Where he has a personal bias or prejud ice conce rning a party, or person
                                                                                        al
              knowle dge of disput ed eviden tiary facts conce rning the procee ding;
    15        (2)
              Where in private practic e he served as lawye r in the matte r in contro
    16                                                                                 versy, or a
              lawye r with whom he previo usly practic ed law served during such
                                                                                   association as a
   17         lawye r conce rning the matte r, or the judge or such lawye r has been
                                                                                      a materi al
              witnes s conce rning it;
   18        (3)
             Where he has served in govern menta l emplo yment and in such capac
   19                                                                                    ity
             partici pated as counsel, advise r or mater ial witnes s conce rning the
                                                                                       proceeding or
             expressed an opinion concerning the merits of the particu lar case
   20                                                                                in contro versy;
             (4)
   21        He knows that he, individ ually or as a fiducia ry, or his spouse or minor
                                                                                           child
             residing in his household, has a financial intere st in the subjec t matte
                                                                                        r in
   22        contro versy or in a party to the procee ding, or any other intere st that
                                                                                         could be
             substa ntially affecte d by the outcom e of the procee ding;
   23        (5) He or his spouse, or a person within the third degree of relatio
                                                                                   nship to either of
             them, or the spouse of such a person :
   24        (i)
             Is a party to the procee ding, or an officer , directo r, or truste e of a
   25        (ii)
                                                                                                   party;

   26        Is acting as a lawye r in the procee ding;
             (iii)
   27
                                                                  3
   28
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        1
              Is known by the judge to have an intere st that could be subst
                                                                             antial ly affect ed by
        2     the outco me of the proce eding ;
              (iv)
        3     Is to the judge 's knowl edge likely to be a mater ial witne ss
                                                                                       in the proceeding.
        4     Judge Cristo! is also disqualified due to showi ng Bias and unfair ness
                                                                                      in the case agains t
              Thoma s Neuso m. But despite this, Neuso m hopes that this case can
        5                                                                           be resolv ed in a fair manner.

        6    New information has been discovered after a careful review of the hearin
                                                                                          g CD and the
             applicability of previously unuse d legal doctri nes neces sitates that the
        7                                                                                November 4, 2018
             Findings Of Fact And Conclusions Of Law be Amended or Vacated.
        8
        g    B. THE FINDINGS SHOULD BE AMENDED OR VACATED AS
                                                             REQUESTED UNDER THE OPEN
                AND OBVIOUS RULES AND DOCTRINES
    10
    11 The Court imposed liability agains t Neusom for what he allegedly told
                                                                                  Colletti, but if one
       analyzes this case in light of the Open and Obvious doctrine, it is clear
    12 receive no Judgm                                                          that Colletti should
                         ent or sympa thy from the Court. The lease was likely dispositive in
    13 regard s to wheth er the Stay should have been impos ed or not and Colletti had the lease and
       Neusom did not when he spoke to Colletti, so for Colletti to put in the
                                                                                 stay under these
    14 circumstances it was clearly his error that he should not have made
                                                                              and trying to blame
       someo ne else for it should not be remed ied the way it was by the Court,
    15 should be Amended                                                           and the Findings
                             or vacated.
    16
   17       The Open and Obvious doctrine is a defense used mostly in Premise
                                                                              liability cases but it is applicable
            in this case in this motion as well..
   18
            The general rule is that a premises possessor owes a duty to an invitee
   19                                                                                 to exercise reasonable care to
            protect the invitee from any unreasonable risk of harm caused by a danger
                                                                                          ous condition on the land.
            The open and obvious doctrine is a major exception to this general rule.
   20                                                                                   According to the doctrine an
            invitor is protected from liability if the danger is an open and obvious
                                                                                     one. The foundation for this
   21       rule is that the open and obvious nature of the dangerous situation serves
                                                                                         as a warning to the invitee
            and the person is expected to recognize the potential danger and to protec
                                                                                         t himse lf against it.
   22       However the present position is that if the special aspects of a condition
                                                                                        make even an open and
            obvious risk unreasonably dangerous, the premises possessor has a duty
                                                                                        to undertake reasonable
   23       precautions to protect invitees from that risk.

   24       The test to determine if a danger is open and obvious is whether "an averag
                                                                                           e user with ordinary
            intelligence would have been able to discover the danger and the risk
   25                                                                               presented upon casual
            inspection." Because the test is objective, this Court "looks not to whethe
                                                                                        r plainti ff should have
            known that the condition was hazardous, but to whether a reasonable
   26                                                                              person in his position would
            foresee the danger. [BAIL LIE v. DIETZ ORG., 2003 Mich. App. LEXIS
                                                                                         3021, 4-5 (Mich. Ct. App.
   27       2003)]
                                                               4
   28
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              In Michigan, the open and obvious doctrine was initially based on Restatement
         1                                                                                       of torts. According to
              Restat 2d of Torts, § 343A, a premises possessor is not liable to the invitees for
                                                                                                 harm caused by
        2     known or obvious dangers unless the possessor anticipates that harm despite the
                                                                                                  knowledge and
              obviousness. A possessor when he anticipates the harm should warn or protect
                                                                                                an invitee against
        3     open and obvious dangerous conditions.

        4    However Michigan Supreme Court in Lugo v. Ameritech Corp., 464 Mich. 512,
                                                                                                516 (Mich. 2001)
             replaced the Restatement approach with special aspects analysis which stated that
                                                                                                  : The general rule
        5    is that a premises possessor is not required to protect an invitee from open and obvious
                                                                                                       dangers.
             However if the special aspects of a condition make even an open and obvious risk
        6                                                                                         unreasonably
             dangerous, the premises possessor has a duty to undertake reasonable precautions
                                                                                                 to protect invitees
             from that risk. A special aspect exists when the danger although open and obviou
        7                                                                                       s is unavoidable or
             imposes a "uniquely high likelihood of harm or severity of harm" [Lugo v. Amerit
                                                                                                   ech Corp., 464
        8    Mich. 512, 518 (Mich. 2001)]

        9    This principle was reiterated by the Supreme Court in Mann v. Shusteric Enters.,
                                                                                               470 Mich. 320,
             328-329 (Mich. 2004) wherein the court added that in order determine whether
                                                                                             a condition is "open
    10       and obvious," or whether there are "special aspects" that render even an "open and
                                                                                                obvious"
             condition "unreasonably dangerous," the fact-finder must utilize an objective standar
    11                                                                                             d, i.e., a
             reasonably prudent person standard.
    12       This is mainly applied in negligent cases as a defense in slip-trip-and-fall case.
    13
    14       The import ance of the open and obvious doctrin e cannot be unders tated in
                                                                                                    this case.
    15       The eviction Judge, Judge Boker, never grante d sanctio ns for the entry of the
                                                                                               stay. The
             Bankru ptcy Court grante d the sanctio n and the only basis for this is Coletti's
    16                                                                                         claim that
             Neusom lied to him according to the Findings Of Fact And Conclusions Of Law.
                                                                                                  But if one
    17       analyzes this situati on it is clear that the Open And Obvious doctrin e and the
                                                                                               Florida Rules
             of Professional Responsibility show the curren t Findings and the Conclusion
                                                                                                reache d is
    18       incorre ct and should be Amended or Vacated.
   19  4-1. CLIEN T-LAWYER RELA TIONS HIP RULE 4-1.1 COMP ETEN CE
                                                                                            A lawyer must
   20 provide competent representation to a client. Competent representation requires the legal
       knowledge, skill, thoroughness, and prepara tion reasonably necessary for the
                                                                                          representation.
   21 Comm ent Legal knowledge and skill In determining whether a lawyer employs the
                                                                                                requisite
      knowle dge and skill in a particular matter, relevant factors include the relative
   22 specialized nature of the matter,                                                    comple  xity and
                                         the lawyer 's general experience, the lawyer 's training and
   23 experience in the field in question, the preparation and study the lawyer is able to give the
      matter, and whethe r it is feasible to refer the matter to, or associate or consult
                                                                                          with, a lawyer of
   24 established competence in the field in question. In many instances the required proficiency is
      that of a general practitioner. Expertise in a particular field of law may be require
   25 circumstances. A lawyer need not necessarily have                                       d in some
                                                             special training or prior experience to handle
      legal problems of a type with which the lawyer is unfamiliar. A newly admitte
   26                                                                                      d lawyer can be as
      competent as a practitioner with long experience. Some important legal skills,
                                                                                           such as the
   27 analysis of precedent, the evaluation of evidence and legal drafting, are required in all legal
                                                         5
   28
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          problems. Perhaps the most fundamental legal skill consists of determ
        1                                                                            ining what kind of legal
          problems a situation may involve, a skill that necessarily transcends
                                                                                 any particular specialized
      2 knowledge. A lawyer can provide adequate representation in a wholly novel field through
          necessary study. Competent representation can also be provided throug
                                                                                      h the association of a
      3 lawyer of established competence in the field in question. Competent
                                                                                   representation may also
         involve the association or retention of a non-lawyer advisor of establi
      4 competence in the                                                          shed  technological
                             field in question. Competent representation also involves safeguarding
      5 confidential information relating to the representation, including, but not limited to, electronic
         transmissions and communications. In an emergency a lawyer may give
                                                                                       advice or assistance in a
      6  matter in which the lawyer does not have the skill ordinarily required where
                                                                                           referral to or
         consultation or association with another lawyer would be impractical.
     7 however, assistance should be limited                                         Even  in an emergency,
                                                  to that reasonably necessary in the circumstances, for ill-
     8 considered action under emergency conditions can jeopardize the client' s interest. A lawyer may
         accept representation where the requisite level of competence can be
                                                                                  achieved by reasonable
     9 preparation. This applies as well to a lawyer who is appointed as counsel for an unrepresented
        person. See also rule 4-6.2. Thoroughness and preparation Competent
                                                                                    handling of a particular
    10 matter includes inquiry into and analysis of the factua
                                                                 l and legal elements of the problem, and
        use of methods and procedures meeting the standards of competent practit
    11                                                                                  ioners. It also includes
        adequate preparation. The required attention and preparation are determ
                                                                                      ined in part by what is at
   12 stake; major litigation and complex transactions ordinarily require more extensive treatment than
        matters of lesser complexity and consequence. The lawyer should consul
                                                                                       t with the client about
   13 the degree of thoroughness and the level of preparation required
                                                                             as well as the estimated costs
        involved under the circumstances. Maintaining competence To mainta
   14 and skill, a lawyer should                                                   in the requisite knowledge
                                     keep abreast of changes in the law and its practice, engage in
   15 continuing study and education, including an understanding of the benefits and risks associated
        with the use of technology, and comply with all continuing legal educat
                                                                                     ion requirements to
   16   which  the lawyer is subject.
        Amended March 23, 2006, effective May 22, 2006 (SC04-2246), (933
   17 29, 2016, effective January 1, 2017 (SC16                                     So.2d 417); September
                                                     -574), 200 So.3d 1225.
        RRTFB September 17, 2018
   18
   19       There was no lie to Coletti. He just did not under stand the distinction
                                                                                     and ramifications
            betwe en a perso nal bankr uptcy and a busin ess bankr uptcy and the effect
   20                                                                                    of the lease.
            Coletti admit ted he did not under stand Bankruptcy Law so he was incom
                                                                                        peten t to testify in
            regard s to the hearsa y settle ment teleph one call and what it meant.
   21                                                                               Either way he violated
            the Rules of Professional Responsibility when he acted and the Court
                                                                                     should acknowledge
   22       that Coletti at least shares in the blame for the stay.

   23 And I was told that the eviction attorn ey thoug
                                                       ht the Stay did not violate the        rent regist ry
            Order and the eviction Court Judge Boker grante d no sancti on or anyth
   24                                                                                  ing for imposing the
            Stay. So isn't this an indication that Judge Cristo} should not impos e
                                                                                    a sancti on for the Stay.
   25       I believe it is and reque st the Court to so hold.

   26
   27
                                                            6
   28
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        1
        2    C. THE FINDINGS OF FACT AND CONCLUSIONS OF LAW ARE LOGIC
                                                                     ALLY AND LEGALLY
                INCONSISTENT AND OMITS MATERIAL INFORMATION AND IS A
                                                                      MISREPRESENTATION
        3       AGAINST PLAINTIFF/APPELLANT NEUSOM

        4
              I believe this motion is impor tant and I want to do all I can to quickly
        5                                                                               resolve this
             unfor tunate situation. I do not want to spend years litigating this sancti
                                                                                          on motion and the
        6    Findings Of Fact And Conclusions Of Law, but under the curren t circum
                                                                                         stance s I must
             litigate for the truth and justice to be done.
        7
             This motion may give us a final chance to resolve this case equita bly
        8                                                                           and fairly and I hope it
             is utilized to its full potential.
        9
             One of my concerns is that the Findings claim that Neusom lied to Collet
                                                                                      ti. This is a
    10       Conclusion with no factual basis beyond the testim ony of Colletti who
                                                                                    admit ted who has
             little vor no knowledge of Bankr uptcy and violated the Florida Rules
    11                                                                             Of Professional
             Responsibility when he acted and this was prove n when he admit ted
                                                                                   he did additional
    12       research, hired outsid e Counsel and then changed his mind about what
                                                                                     he had done.
    13      Neusom forced him to do nothing. To claim that a phone call by Neuso
                                                                                         m forced him to do
            anyth ing defies reason, is a lie and an obvious misre presen tation . It
                                                                                      will not stand on
    14      Appeal so this is good reason to vacate or amend the Findings now.
                                                                                      There is no good
    15      reaso n to force Plaint iff/ap pellan t Neusom to have to litigate this and
                                                                                        file Complaints with
            the EEOC and Justice Department. Let's be sensible and resolve this
                                                                                      now by vacating or
   16       appro priate ly amend ing the Findings.
   17       If Amen dmen t is chosen any claim that Neusom lied to Colletti must
                                                                                    be removed.
   18
            This is one area where the Open And Obvious doctri ne is so impor tant.
                                                                                       Colletti had the
   19       eviction information and he should have under stood the way in which
                                                                                      the lease would
            impac t the applicability of the stay. If he did not know the Rules say
   20                                                                               he should have sought
            advice. The rules do not say act incom petent ly witho ut seeking advice
                                                                                      and then try to
   21       blame others after changing your mind as Colletti has done.

   22       At most, Colletti misun dersto od what he was told or was mistaken.
                                                                                     He was never lied to
            and a finding that Neusom lied could have conse quenc es that seriou
   23                                                                               sly hurt him. This is a
            very impor tant issue to me becau se my livelihood is at stake due to
                                                                                    the Court's errone ous
   24       findings and conclusions and Colletti's unsub stanti ated self servin g
                                                                                    hears ay testimony.
   25       The One year Enjoining from Bankruptcy Practice is unfair and unwa
                                                                               rrante d when one
            looks at this case. It has also been financially detrim ental.
   26
   27
                                                           7
   28
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               Rathe r than enjoi n one year an accep table Amen dmen t would
         1                                                                       be to requi re that Neusom
               comp lete the MCLE Orde r withi n one year, and if it is not comp
                                                                                  leted withi n one year he is
        2      enjoi ned from Bank ruptc y pract ice until it is completed. While
                                                                                   Vacating of the Order is
               prefe rred Neusom is willing to comp romis e in order to get the
        3                                                                        Courts grant ing of this
               merit oriou s and impo rtant motion.
        4
        5      The calculation of dama ges in the Findings Of Fact And Conc
                                                                                 lusions Of Law is legally
               unsup porta ble. In the findings it state s Neus om is liable to Landl
        6                                                                             ord in the total amou nt of
               $31,256, representing $2,000 in legal fees to Colletti; $20,0
                                                                               00 to MRS for legal fees and
               $9,256.00 for lost rent.
        7
        8     In the Findings it also says A Plus had a one year lease term
                                                                             which ran from August 1, 2017
              to July 31, 2018. A Plus Lamination and Finishing, Inc. agree
                                                                            d to pay $8,666.67 in monthly
        9     rent plus sales tax and fees to lease the Property. A Plus Lamin
                                                                               ation and Finishing, Inc.
              defaulted on the Lease by failing to make the March 1, 2018
    10                                                                      rent paym ent and subse quen t
              paym ents.
    11
              Making Neusom liable for lost rent has no legal basis when APlus
                                                                                   was a tenan t in the
    12        building and their tenan cy was said to be the reaso n the new
                                                                              tenan t could not move in. In
              addition, the Landlord's Office Manager testified that they had
                                                                               obtai ned a Writ Of
    13        Posse ssion and chose to give A Plus addit ional time to move.
                                                                              The lost rent of $9,256.00 had
              nothi ng to do with Neusom and he canno t be legally charg ed
   14                                                                        for it.

   15         There is no legal basis to charg e Neusom $2,000 for legal fees
                                                                                to Colletti. Colletti was
              landl ords eviction Counsel and he rende red no legal services
                                                                               to Neusom. I canno t and will
   16         not advis e Landlord and his attorn ey's on how to proce ed, but
                                                                                 this charg e to Neusom for
              Colletti's legal fees is clearly erron eous and they have other optio
   17                                                                               ns to obtai n their fees.

   18        Charging Neusom $20,0 00 to MRB for legal fees is clearly erfro
                                                                              neous and shoul d be
             vacated. The only thing MRB did is prepa re a Motion For Sanct
                                                                              ions and atten d three one to
   19        three hour hearings. A $20,000 bill for that is clearly padd ed
                                                                             and inflated.
   20
             In addition, there is no legal basis to hold Neusom liable for a
                                                                              $20,0 00 legal bill that Colletti
   21        create d, not Neusom.

   22        It is clear, and is is admi tted by Colletti that he sough t legal assist
                                                                                       ance after he had put in
             the stay. Therefore, it is clear that Colletti could have sough t
   23                                                                            legal assist ance before he put
             in the stay. This show s that all of this is Colletti's fault for not
                                                                                   following the Rule 4.1 of
   24        Professional Responsibility.

  25         In addition, the handl ing of the litigation after legal assist ance
                                                                                  was sough t by MRB is
             abysmal. Rathe r than prom ptly go to the eviction court and
  26                                                                           withd raw the stay, Landlord
             chose to go to the Bank ruptc y Court and it took three mont hs
                                                                                 for the stay to be lifted and
  27         this is not the fault of Neusom. The Bank ruptc y Court could
                                                                               have lifted the stay sooner,
                                                              8
  28
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            Colletti could have filed for Rehea ring under 105 to have the stay
        1                                                                        voide d in a few days.
            There were nume rous option s availa ble that could have avoid ed
                                                                                the time delay which led
        2   to a claime d $30,0 00 bill. Neuso m feels set up, flim flamed and defrau
                                                                                      ded in regard s to the
            motio n for Sancti ons and its adjudi cation .
        3
        4
        5   The case law cited in Hollan d's own Sanctions motion gives guidance
                                                                                   on what an appropriate
        6   sanction is.
        7
            In Re Douglas, 141 B.R. 252 (Bankr. N.D. Ga. 1992)
        8
            United States Bankruptcy Court, N.D. Georgia
        9
            Filed: March 20th, 1992
    10      Prece dentia l Status : Precedential
            Citati ons: 141 B.R. 252
    11      Docke t Numb er: Bankruptcy No. A91-64357-SWC
    12      Judge s: Stacey W. Cotton

    13      When granting sanctions in the Douglas case the court concluded by
                                                                                 stating:
    14  "In its motion, California Federal seeks attorney's fees and expenses incurr
                                                                                        ed in preparing and
            presenting the emergency motion to dismiss debtor's Chapter 13 case
    15                                                                                and its motion for
         sanctions. Bankruptcy Rule 9011 authorizes the court to impose "...
                                                                                  an appropriate sanction,
    16    which may include an order to pay to the other party or parties the amoun
                                                                                        t of the reasonable
       expenses incurred because of the filing of the document, including a reason
    17                                                                                  able attorney's fee."
        Fed.R.Bankr.P. 9011. Sanctions may include the reasonable expenses
                                                                                  of pursuing the Rule 11
        claim. Mike Ousley Prod. Inc., 952 F.2d at 383-84. Counsel for Califo
   18 affidav                                                                     rnia  Federal has filed an
               it setting forth an itemization of the services rendered and expenses incurr
                                                                                              ed in preparing
   19   the motions to dismiss and for sanctions. This affidavit states that Califo
                                                                                     rnia Federal incurred
       $1,630.25 in fees and expenses. Having examined the itemization of servic
                                                                                       es and expenses, the
   20     court finds and concludes that the hourly rates charged are within the
                                                                                   range of hourly rates
       charged by attorneys and paraprofessionals of comparable skill, experi
   21 services rendered were reason                                              ence and reputation. The
                                       able and necessary in the filing and prosecution of these motions in
   22 response to this abusive and improper serial bankruptcy filing. Accordingly, California Federal's
        motion for sanctions is granted. The court imposes sanctions upon debtor
                                                                                     's counsel, Milton D.
   23  Jones, for California Federal'sattorney's fees and expenses in the sum
                                                                                 of $1,630.25." 141 B.R.
                                                     252 (1992)
   24
   25
   26
   27
                                                         9
  28
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              In re Harold DOUGLAS, Debtor. CALIFORNIA FEDE
         1                                                           RAL BANK, FSB, Movant,
              v. Harold DOUGLAS, Respondent. Bankruptcy No. A91-
                                                                      64357-SWC. United States
       2      Bank ruptc y Cour t, N.D. Georgia, Atlan ta Division. Marc
                                                                         h 20, 1992.
       3
       4
             In Re Morgan, 85 B.R. 622 (Bankr. M.D. Fla. 1987)
       5
             United States Bankruptcy Court, M.D. Florida
       6
             Filed: October 26th, 1987
       7     Prece denti al Statu s: Precedential
             Citat ions: 85 B.R. 622
       8     Docket Num ber: Bankruptcy No. 87-4663
       9     Judg es: Alexander L. Paskay

    10       107. When granting sanctions in the Morgan case, the Cour
                                                                         t concluded by stating:
    11
    12   "Clearly, it was not the intent of Congress to allow Debto
                                                                      rs to file Chapter 7 Petitions for the
         singular purpose of delaying the inevitable conclusion of
                                                                      foreclosure. As it is admitted by the
    13 Debtor's counsel that the sole purpose for filing
                                                           the Debtor's petition was to prevent and delay
        the foreclosure sale by C & S, this Court is satisfied that
    14 should be impo                                                sanctions in the amount of $1,000.00
                         sed jointly and severally against the Debtor and her attorn
                                                                                       ey, Michael Steinberg,
    15 to compensate for attorney fees incurred in connection with the aborted foreclosure sale.
        It should be noted, however, that the imposition of these
    16 the occur                                                    sanctions should be conditioned upon
                  rence of a proposed sale of the property in dispute, as in
                                                                                the event the property is sold,
    17 C & S will receive compensation for attorney fees incurred by means of the sale proceeds.
       Accordingly, it is
   18
       ORDERED, ADJUDGED AND DECREED that the Moti
                                                                      on for Sanctions against Debtor and
   19 Debtor's Counsel be, and the same is hereby,
                                                       granted, and Janet Morgan and Michael Steinberg
       are hereby directed to pay C & S $1,000.00 in the event
   20 property                                                     the proposed sale of the Debtor's
                 does not occur. It is further
   21 ORDERED, ADJUDGED AND DECREED that in
                                                              the event the proposed sale does not occur, C
       & Sma y seek an Order by this Court directing Janet
   22                                                          Morgan and Michael Steinberg to make
       payment in the amount of$1, 000.0 0 as sanctions."85 B.R.
                                                                       622 (1987) In re Janet K. MORGAN,
   23 Debtor. Bankruptcy No. 87-4663. United States Bank
                                                                 ruptc y Cour t, M.D. Flori da, Tam pa
       Division. October 26, 1987.
  24
  25
  26
  27
                                                          10
  28
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         1     In Re McBride Estates, Ltd., 154 B.R. 339 (Banla. N.D. Fla. 1993)

        2      United States Bankruptcy Court, N.D. Florida
        3      Filed: March 26th, 1993
               Prece denti al Statu s: Precedential
        4      Citati ons: 154 B.R. 339
               Dock et Numb er: Banlauptcy No. 92-07497
        5      Judge s: Lewis M. Killian, Jr.
        6
        7
               108. When granting sanctions in In Re Mcbride the Court concl
                                                                                 uded by stating:
        8

        9     "Based on the foregoing findings, we find that the filing of the
                                                                                Chapter 11 petition by McBride
              and its resistance to Barnett's motion for relief from the stay were
    10                                                                              done for an improper purpose,
              that is the unnecessary delay in the completion of the foreclosure
                                                                                   sale by Barnett Bank, and that
    11        such petition and opposition were not well grounded in fact or
                                                                               warranted by existing law or good
              faith argument for the extension, modification, or reversal of existi
                                                                                    ng law. B.R. 9011. The costs
    12        incurred by Barnett as a result of the actions of McBride Estate
                                                                               s and its attorney in filing the
              petition for relief under Chapter 11 and resisting the motion for
    13                                                                          relief from stay are as follows:
              1) $1,440.88 publication costs for foreclosure sale.
   14
              2) $190.00 paralegal expenses preparing for foreclosure sale.
   15

   16         3) $2,340.50 attorney's fees in connection with the motion for
                                                                               relief from stay.
   17         *344 4) $60.00 filing fee for motion for relief from stay.
   18        5) $500 attorney's fees in connection with the motion for sancti
                                                                                ons.
   19
             Total $4,531.38.
   20
             154 B.R. B339 (1993) In re McBRIDE ESTATES, LTD. Debto
   21                                                                      r. Banla uptcy No. 92-07497.
             United States Bank ruptc y Cour t, N.D. Flori da, Tallahassee Divis
                                                                                 ion. March 26, 1993.
   22
             The In In Re Mcbride the sanction was $2,840.00.
   23
   24        109 A review of the three of Holla nd's own cited cases shows
                                                                                that an appropriate sanction ranges
  25         from One Thousand Dollars ($1,000.00) to Two Thousand Eight
                                                                                   Hundred Dollars Forty Dollars.
  26         ($2,840.00). Neusom was sanctioned for over Thirty Thousand
                                                                                  Dollars ($30,000.00), and the
  27         bulk of it was for things that took place in an eviction case that
                                                                                 Cristo! really doesn 't even have
                                                              11
  28
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              authority over due to the Colorado River and other Abstention Doctrines
        1                                                                             and the    fact that State
              and Federal Court's are separate and distinct. Neusom never filed a Notice
        2                                                                                   of Appearance or
              filed anything in the eviction case he is being sanctioned for by Judge Cristo
                                                                                            l. This is clearly
        3     Unconstitutional and illegal.
        4
             D. NEUSOM MADE NUMEROUS EVIDENTIARY OBJECTIONS THAT
        5                                                        WERE WRONFULLY
                DENIED
        6
        7    Neusom made nume rous evide ntiary objections during the hearings.
                                                                                        The Objections were
             denied and at one point Judge Cristol stated it's a matte r of credibility.
                                                                                         I believe him and
        8    not you referr ing to Colletti. Why was Colletti more credible than Neuso
                                                                                           m? I have my
             opinion, but I believe the better course is for us to be reason able and
        9                                                                              vacate or amend the
             Order and bring the Perez matte r and all its litigation to an end.
    10
                                            CONCLUSION
    11
    12       Mr. Russin told me that he believed I have been respo nding and dealin
                                                                                     g with this situation
    13       in the wrong way. He said if I would be apologetic and stop fighting
                                                                                  the claims against me it
             would have turned out better for me.
    14
            In that regard I want to apologize to the court if it feels I have misha
   15                                                                                ndled the Bankruptcy.
            Any mishandling was uninte ntiona l and the case law and rules show
                                                                                      that Coletti should be
   16       held respon sible for the things that he did. The Case law also shows
                                                                                     that the sanctions
            again st me are excessive and not in line with case law and the applic
                                                                                     able rules.
   17
            Your ruling in regard s to the claims again st Nubia Perez and Vacating
   18                                                                               the Dismissal of the
            stay were correc t and that has been noted by my Office. So please take
                                                                                     the appro priate
   19       next step and Vacate or Amend the Findings Of Fact And Conclusions
                                                                                    Of Law.
   20       I would be willing to accep t a Two Thousand Dollar ($2,000) Sancti
                                                                                   on and an order to
            complete the MCLE Order within One year if my right to curren tly practi
   21                                                                                   ce Bankruptcy Law
            is reinst ated. This is needed becau se I have two pendi ng cases that were
                                                                                        affected by the
   22       enjoining of my Bankruptcy practice.

   23
            I worke d extrem ely hard to be able to Practice and I have never intent
   24                                                                                ionall y acted in a
            malicious or unethical way. At most the issues that arose were mistak
                                                                                     es and
            misun dersta nding s and I believe the Court knows this is true. Please
   25                                                                               Vacate or Amend the
            Findings Of Fact And Conclusions Of Law as reque sted by Neusom and
                                                                                      the lawsuit, Appeal
   26       and every thing else can be dismissed and the partie s can move forwa
                                                                                    rd in a positive and
            constr uctive way.
  27
                                                            12
  28
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         1
         2
             WHEREFORE, Neu som pray s that the Cou
                                                    rt:
         3
                 1. Vacate the Findings Of Fact And Conclus
        4                                                   ions Of Law ente red Octo ber 4, 2018, or
                 2. Ame nd The Findings Of Fact And Conclus
                                                             ions of Law, or
        5        3. Stay The Findings And Conclusions Ord
                                                          er and Recuse Judge Cristal from the Pere z
                    Ban krup tcy case.
        6
        7
        8    Dated: Dec emb er 13, 2018:

        9

    10
                                                              ~n~~
                                                                By:/s/Thomas Neusom
    11                                                          Attorney For Debtor
                                                                Bar No. 003717
    12                                                          (954)200-3536
    13                                                          4737 N. Ocean Drive, #129
                                                                Fort Lauderdale, FL 33308
    14                                                          Email: tgnoffice35@gmail.com

    15

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  28                                                     13
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         1
         2
         3                              CERTIFICATE OF SERVICE

         4   I HEREBY CERTIFY that a true and correct copy of the foregoing
         5   MOTI ON TO VACATE OR AMEND THE FINDIINGS OF FACT AND CONC
                                                                            LUSIONS
             OF LAW; OR FOR A STAY AND RECUSAL OF JUDG E A.JAY CRIST OL
         6
              was furnished by email to the following on December 13, 2018, to the parties
                                                                                           on the efiling
         7   portal service list by email by Court Clerk.
         8
         9
    10
                                                                 By:/s/Thomas Neusom
    11                                                           Bar No. 0037174
                                                                 Phone; (954)200-3536
    12                                                           4737 N. Ocean Drive, #129
                                                                 Fort Lauderdale, FL 33308
    13
                                                                 Email: tgnoffice35@gmail.com
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      1

      2        IN THE BANKRUTCY APPELLATE COURT OF THE SOUTHERN DISTRICT OF
                                        FLORIDA
      3
      4
            DEBTOR
      5
                                                             APPELLAT E CASE NO.
      6     NUJBIA MAR ELLA PEREZ.
                                                             18-CV-24463-FAM
      7
                                                             Bankruptcy Court
     8
                                                             CASE NO: 18-15825
     9
    10
                                                             APPELLAN T THOMAS NEUSOM'S
    11                                                       MOTION FOR REHEARNG OF THE
                                                             DENIAL OF THE EMERGENC Y
    12                                                       MOTION FOR STAY DURING
    13                                                       PENDENCY OF THE APPEAL
                                                             TO THE BANKRUPT CY APPELLAT E
    14                                                       PANEL

    15
                                                             HEARING:
    16
                                                             DATE
    17                                                       TIME
                                                             PLACE
    18

    19    MOTION FOR STAY DURING PENDENCY OF THE APPEAL TO THE
          BANKRUPT CY APPELLAT E PANEL
    20
    21

    22       1. COMES NOW, Appellant Thomas Neusom requesting that the Bankruptcy Appellate
    23    Panel grant a rehearing of the Judge Moreno denial of his motion to grant a stay of the Findings
    24    Of Fact And Conclusions Of Law in the Bankruptcy Court in Case No. 18-15825 during the
    25    pendency of the Appeal with Case No. 18-CV-24463-FAM pursuant to Rule 40 of the Federal
    26    Rules Of Appellate Procedure.
    27
                                                         1
    28
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      1
      2
      3
          2. The relevant part of Bankruptcy Rule of 8007 states:
      4
      5
          3.
     6
                      Rule 8007. Stay Pending Appeal; Bonds;
     7                      Suspensio n of Proceedin gs
     8    (a) Initial Motion in the Bankruptcy Court.

     9           (1) In General. Ordinarily, a party must move first in the bankruptcy court for
               the following relief:
    10
                   (A) a stay of a judgment, order, or decree of the bankruptcy court pending
    11           appeal;

    12             (B) the approval of a supersedeas bond;
                   (C) an order suspending, modifying, restoring, or granting an injunction while
    13           an appeal is pending; or
    14             (D) the suspension or continuation of proceedings in a case or other relief
                 permitted by subdivision (e).
    15
    16
                 (2) Time to File. The motion may be made either before or after the notice of
    17         appeal is filed.
    18

    19    (b) Motion in the District Court, the BAP, or the Court of Appeals on Direct Appeal.
    20           (1) Request for Relief. A motion for the relief specified in subdivision (a)(l)-or
               to vacate or modify a bankruptcy court's order granting such relief-may be made
    21         in the court where the appeal is pending.
    22           (2) Showing or Statement Required. The motion must:
    23             (A) show that moving first in the bankruptcy court would be impracticable; or

    24            (B) if a motion was made in the bankruptcy court, either state that the court
                has not yet ruled on the motion, or state that the court has ruled and set out
    25          any reasons given for the ruling.

    26
    27          (3) Additional Content. The motion must also include:
                                                    2
    28
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                     (A) the reasons for granting the relief requested and the facts relied upon;
         1
                    (B) affidavits or other sworn statemen ts supportin g facts subject to dispute;
         2        and
     3               (C) relevant parts of the record.

     4
     5            (4) Serving Notice. The movant must give reasonable notice of the motion to all
                parties.
      6
     7       (e) Continuat ion of Proceedings in the Bankruptc y Court. Despite Rule 7062 and
             subject to the authority of the district court, BAP, or court of appeals, the
     8       bankruptc y court may:
                 {l) suspend or order the continuati on of other proceedin gs in the case; or
     9
                 (2) issue any other appropria te orders during the pendency of an appeal to
    10         protect the rights of all parties in interest.
    11       (Added Apr. 25, 2014, eff. Dec. 1, 2014.)

    12                                                  PRIOR RULE

               A prior Rule 8007, Apr. 25, 1983, eff. Aug. 1, 1983, as amended Mar. 30, 1987,
    13       eff. Aug. 1, 1987; Apr. 30, 1991, eff. Aug. 1, 1991, related to completio n and
             transmiss ion of the record and docketing of the appeal, prior to revision of Part
    14
             VIII, Apr. 25, 2014, eff. Dec. 1, 2014.
    15

    16
             4. Appellant Thomas Neusom is or was a Bankruptcy Attorney able to file in the Southern
    17
             District of Florida, and he has an application pending to file Bankruptcies in the Middle District
    18
             of Florida.
    19
    20
             5. The subject of this Appeal is in regards to the personal Bankruptcy of Nubia Marcella Perez.
    21
             Some issues came up during the Bankruptcy where an eviction attorney named Joseph Colletti
    22
    23       misunderstood the situation and may have mistakenly put in a stay in an eviction of a business

    24       owned by Perez called A Plus Lamination. It was all Colletti's mistake because he had a copy of

    25       the lease between the Landlord Holland and A Plus Lamination.
    26
    27
                                                             3
   28
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      1   Colletti acted without the requisite knowledge and experience and did not consult with his own
      2
          Bankruptcy Counsel before he acted in violation of the Rules of Professional Responsibility.
      3
      4    4-1. CLIENT-LAWYER RELATIONSHIP RULE 4-1.1 COMPETENCE A lawyer must
           provide competent representation to a client. Competent representation requires the legal
      5
          knowledge, skill, thoroughness, and preparation reasonably necessary for the representation.
      6    Comment Legal knowledge and skill In determining whether a lawyer employs the requisite
          knowledge and skill in a particular matter, relevant factors include the relative complexity and
      7   specialized nature of the matter, the lawyer's general experience, the lawyer's training and
          experience in the field in question, the preparation and study the lawyer is able to give the
      8
          matter, and whether it is feasible to refer the matter to, or associate or consult with, a lawyer of
      9   established competence in the field in question. In many instances the required proficiency is
          that of a general practitioner. Expertise in a particular field of law may be required in some
     10   circumstances. A lawyer need not necessarily have special training or prior experience to handle
          legal problems of a type with which the lawyer is unfamiliar. A newly admitted lawyer can be as
     11   competent as a practitioner with long experience. Some important legal skills, such as the
     12   analysis of precedent, the evaluation of evidence and legal drafting, are required in all legal
          problems. Perhaps the most fundamental legal skill consists of determining what kind of legal
     13   problems a situation may involve, a skill that necessarily transcends any particular specialized
          knowledge. A lawyer can provide adequate representation in a wholly novel field through
     14   necessary study. Competent representation can also be provided through the association of a
          lawyer of established competence in the field in question. Competent representation may also
     15
          involve the association or retention of a non-lawyer advisor of established technological
     16   competence in the field in question. Competent representation also involves safeguarding
          confidential information relating to the representation, including, but not limited to, electronic
     17   transmissions and communications. In an emergency a lawyer may give advice or assistance in a
          matter in which the lawyer does not have the skill ordinarily required where referral to or
     18
          consultation or association with another lawyer would be impractical. Even in an emergency,
     19   however, assistance should be limited to that reasonably necessary in the circumstances, for ill-
          considered action under emergency conditions can jeopardize the client's interest. A lawyer may
    20    accept representation where the requisite level of competence can be achieved by reasonable
          preparation. This applies as well to a lawyer who is appointed as counsel for an unrepresented
    21    person. See also rule 4-6.2. Thoroughness and preparation Competent handling of a particular
    22    matter includes inquiry into and analysis of the factual and legal elements of the problem, and
          use of methods and procedures meeting the standards of competent practitioners. It also includes
    23    adequate preparation. The required attention and preparation are determined in part by what is at
          stake; major litigation and complex transactions ordinarily require more extensive treatment than
    24    matters of lesser complexity and consequence. The lawyer should consult with the client about
          the degree of thoroughness and the level of preparation required as well as the estimated costs
    25
          involved under the circumstances. Maintaining competence To maintain the requisite knowledge
    26    and skill, a lawyer should keep abreast of changes in the law and its practice, engage in
          continuing study and education, including an understanding of the benefits and risks associated
    27
                                                           4
    28
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             with the use of technology, and comply with all continuing legal education requirements to
         1   which the lawyer is subject.
      2      Amended March 23, 2006, effective May 22, 2006 (SC04-2246), (933 So.2d 417); September
             29, 2016, effective January 1, 2017 (SC16-574), 200 So.3d 1225.
      3      RRTFB September 17, 2018
      4
      5
             6. Neusom filed the Perez Bankruptcy and was obtaining more information about the case when
     6
             he may have spoken to Colletti about it in order to obtain case documentation such as the Lease
     7
             which Perez and her company were unable to give him. The eviction Attorney for A Plus was
     8
     9       Alex Borell .

    10
             7. Based on the facts of the case Neusom believes he will be successful in reversing the Findings
    11
    12       of Fact and Conclusions of Law entered by Judge A. Jay Cristo} on November 4, 2018 which is

    13       currently being appealed.

    14
    15       8. The findings have had the effect of closing down The Law Office of Thomas G. Neusom's

    16       Bankruptcy Practice while he has a current Chapter 11 Bankruptcy case pending in West Palm

    17       Beach Florida for the BBlack Corporation. The Chapter 11 Bankruptcy Petition was filed on
    18
             October 1, 2018 with Case No. 18-23654.
    19
    20
             9. The Law Office of Thomas G. Neusom is also in the process of filing a Chapter 7 Bankruptcy
    21
    22       case in the Middle District of Florida. Neusom has obtained membership in the Middle District

    23       of Florida and has almost completed the bankruptcy training.

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      1
      2   10. Neusom and his potential clients BBlack Corporation and Early Hope Transport Inc will

      3   suffer irreparable harm and imminent injury if a stay and ultimate vacating of the Findings Of
      4   Fact And Conclusions Of Law is not granted.
      5

      6   11. Schedules in the BBlack Bankruptcy Case are due on November 8, 2018 and due to the fact

      7   that the filing entity is a corporation the Officers can not represent it. I have informed the
      8
          Officers of the Corporation about the Cristol order which went into effect of November 6, 2018
      9
          and I have advised them to obtain other Bankruptcy Counsel, but they were informed about
     10
          Neusom's issues with Cristol before the filing and they could not find a Bankrutpcy Attorney for
     11
     12   their Chapter 11 before or after the filing of their Petition.

     13
          12. It is critical that a stay of Judge Cristols Findings and Final Judgment be put in place or the
     14
     15   Offices BBlack Corporation and Early Hope Transport Inc clients in Saint Petersburg will be

     16   hurt with the West Palm Beach clients likely facing conversion or dismissal of their case.

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      1
      2   13. In Order to confirm what is stated by Appellant in this Motion for Stay, portions of one of the
          Orders in the BBlack Corporation Bankruptcy case follow:
      3
      4
                                                   U.S. Bankruptcy Court
      5
                                                Southern District of Florida
     6
          Notice of Electronic Filing
     7
     8    The following transaction was received from Adam, Lorraine entered on 11/1/2018 at 8:54 AM EDT and
          filed on 11/1/2018
     9
          Case Name:            B Black Corp
    10    Case Number:          18-23654-MAM
          Document Number: 2_
    11

    12    Docket Text:
          Notice of Incomplete Filings Due. (Deficiency Must be Cured by 11/8/2018]. List of Twenty Largest
    13
          Unsecured Creditors Due: 11/8/2018.Corporate Ownership Statement due 11/8/2018.Chapter 11 Small
    14    Business Documents due by 11/8/2018. List of Equity Security Holders due 11/14/2018. Summary of
          Your Assets and Liabilities and Certain Statistical Information due 11/14/2018. Schedule A/B due
    15    11/14/2018. Schedule D due 11/14/2018. Schedule E/F due 11/14/2018. Schedule G due 11/14/2018.
    16    Schedule H due 11/14/2018.Statement of Financial Affairs Due 11/14/2018.Declaration Concerning
          Debtors Schedules Due: 11/14/2018. [Incomplete Filings due by 11/14/2018]. (Adam, Lorraine)
    17
          The following document(s) are associated with this transaction:
    18
    19    14. It is critical that a stay be entered and Thomas Neusom is entitled to a stay of the Findings Of

    20    fact And Conclusions Of Law Entered by Judge Cristol on October 4, 2018.
    21
    22
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         1
         2   A. THE FINDINGS OF FACT AND CONCLUSIONS OF LAW ARE LOGICALLY AND LEGALLY
                INCONSISTENT AND OMITS MATERIAL INFORMATION AND IS A MISREPRESENTATION
      3         AGAINST PLAINTIFF/APPELLANT NEUSOM

      4
             14.0ne of my concerns is that the Findings claim that Neusom lied to Colletti. This is a
      5      Conclusion with no factual basis beyond the testimony of Colletti who admitted who has
     6       little or no knowledge of Bankruptcy and violated the Florida Rules Of Professional
             Responsibility when he acted and this was proven when he admitted he did additional
     7       research, hired outside Counsel and then changed his mind about what he had done.
     8       15. Neusom forced him to do nothing. To claim that a phone call by Neusom forced him to
     9       do anything defies reason, is a lie and an obvious misrepresent ation. It will not stand on
             Appeal so this is good reason to vacate or amend the Findings now. There is no good
    10       reason to force Plaintiff/appellant Neusom to have to litigate this and file Complaints with
             the EEOC and Justice Department.
    11
    12
             16. This is one area where the Open And Obvious doctrine is so important. Colletti had the
    13       eviction information and he should have understood the way in which the lease would
             impact the applicability of the stay. If he did not know the Rules say he should have sought
    14       advice. The rules do not say act incompetent ly without seeking advice and then try to
    15       blame others after changing your mind as Colletti has done.

    16       17. At most, Colletti misundersto od what he was told or was mistaken. He was never lied
             to and a finding that Neusom lied could have consequences that seriously hurt him. This is
    17       a very important issue to me because my livelihood is at stake due to the Court's erroneous
    18       findings and conclusions and Colletti's unsubstantia ted self serving hearsay testimony.

    19       18. The One year Enjoining from Bankruptcy Practice is unfair and unwarranted when one
             looks at this case. It has also been financially detrimental.
    20
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         1
      2      19. The case law cited in Holland's own Sanctions motion gives guidance on what an appropriate

      3      sanction is.
     4
             In Re Douglas, 141 B.R. 252 (Bankr. N.D. Ga. 1992)
     5
             United States Bankruptcy Court, N.D. Georgia
     6
             Filed: March 20th, 1992
     7       Precedential Status: Precedential
             Citations: 141 B.R. 252
     8       Docket Number: Bankruptcy No. A91-64357-SWC
     9       Judges: Stacey W. Cotton

    10       When granting sanctions in the Douglas case the court concluded by stating:

    11          "In its motion, California Federal seeks attorney's fees and expenses incurred in preparing and
                   presenting the emergency motion to dismiss debtor's Chapter 13 case and its motion for
    12
                sanctions. Bankruptcy Rule 9011 authorizes the court to impose 11 • • • an appropriate sanction,
    13           which may include an order to pay to the other party or parties the amount of the reasonable
               expenses incurred because of the filing of the document, including a reasonable attorney's fee. 11
    14          Fed.R.Bankr.P. 9011. Sanctions may include the reasonable expenses of pursuing the Rule 11
               claim. Mike Ousley Prod. Inc., 952 F.2d at 383-84. Counsel for California Federal has filed an
    15        affidavit setting forth an itemization of the services rendered and expenses incurred in preparing
    16          the motions to dismiss and for sanctions. This affidavit states that California Federal incurred
              $1,630.25 in fees and expenses. Having examined the itemization of services and expenses, the
    17            court finds and concludes that the hourly rates charged are within the range of hourly rates
              charged by attorneys and paraprofessionals of comparable skill, experience and reputation. The
    18       services rendered were reasonable and necessary in the filing and prosecution of these motions in
    19       response to this abusive and improper serial bankruptcy filing. Accordingly, California Federal's
               motion for sanctions is granted. The court imposes sanctions upon debtor's counsel, Milton D.
    20        Jones, for California Federal'sattorney's fees and expenses in the sum of $1,630.25." 141 B.R.
                                                           252 (1992)
    21
             In re Harold DOUGLAS, Debtor. CALIFORNIA FEDERAL BANK, FSB, Movant,
    22       v. Harold DOUGLAS, Respondent. Bankruptcy No. A91-64357-SWC. United States
    23       Bankruptcy Court, N.D. Georgia, Atlanta Division. March 20, 1992.

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      1   In Re Morgan, 85 B.R. 622 (Bankr. M.D. Fla. 1987)

     2    United States Bankruptcy Court, M.D. Florida
     3    Filed: October 26th, 1987
          Precedential Status: Precedential
     4    Citations: 85 B.R. 622
          Docket Number: Bankruptcy No. 87-4663
     5    Judges: Alexander L. Paskay
     6
          20. When granting sanctions in the Morgan case, the Court concluded by stating:
     7
     8
          "Clearly, it was not the intent of Congress to allow Debtors to file Chapter 7 Petitions for the
     9    singular purpose of delaying the inevitable conclusion of foreclosure. As it is admitted by the
          Debtor's counsel that the sole purpose for filing the Debtor's petition was to prevent and delay
    10    the foreclosure sale by C & S, this Court is satisfied that sanctions in the amount of $1,000.00
          should be imposed jointly and severally against the Debtor and her attorney, Michael Steinberg,
    11    to compensate for attorney fees incurred in connection with the aborted foreclosure sale.
    12    It should be noted, however, that the imposition of these sanctions should be conditioned upon
          the occurrence of a proposed sale of the property in dispute, as in the event the property is sold,
    13    C & S will receive compensation for attorney fees incurred by means of the sale proceeds.
    14    Accordingly, it is
    15    ORDERED, ADJUDGED AND DECREED that the Motion for Sanctions against Debtor and
          Debtor's Counsel be, and the same is hereby, granted, and Janet Morgan and Michael Steinberg
    16    are hereby directed to pay C & S $1,000.00 in the event the proposed sale of the Debtor's
          property does not occur. It is further
    17
          ORDERED, ADJUDGED AND DECREED that in the event the proposed sale does not occur, C
    18    & S may seek an Order by this Court directing Janet Morgan and Michael Steinberg to make
          payment in the amount of $1,000.00 as sanctions."85 B.R. 622 (1987) In re Janet K. MORGAN,
    19
          Debtor. Bankruptcy No. 87-4663. United States Bankruptcy Court, M.D. Florida, Tampa
    20    Division. October 26, 1987.

    21    In Re McBride Estates, Ltd., 154 B.R. 339 (Bankr. N.D. Fla. 1993)
    22
          United States Bankruptcy Court, N.D. Florida
    23    Filed: March 26th, 1993
          Precedential Status: Precedential
    24
          Citations: 154 B.R. 339
    25    Docket Number: Bankruptcy No. 92-07497
          Judges: Lewis M. Killian, Jr.
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              21. When granting sanctions in In Re Mcbride the Court concluded by stating:
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         3   "Based on the foregoing findings, we find that the filing of the Chapter 11 petition by McBride
             and its resistance to Barnett's motion for relief from the stay were done for an improper purpose,
     4
             that is the unnecessary delay in the completion of the foreclosure sale by Barnett Bank, and that
     5       such petition and opposition were not well grounded in fact or warranted by existing law or good
             faith argument for the extension, modification, or reversal of existing law. B.R. 9011. The costs
     6       incurred by Barnett as a result of the actions of McBride Estates and its attorney in filing the
             petition for relief under Chapter 11 and resisting the motion for relief from stay are as follows:
     7
             1) $1,440 .88 publication costs for foreclosure sale.
     8
             2) $190.00 paralegal expenses preparing for foreclosure sale.
     9
    10       3) $2,340.50 attorney's fees in connection with the motion for relief from stay.

    11       *344 4) $60.00 filing fee for motion for relief from stay.
    12       5) $500 attorney's fees in connection with the motion for sanctions.
    13
             Total $4,531.38.
    14
             154 B.R. B339 (1993) In re McBRIDE ESTATES , LTD. Debtor. Bankruptcy No. 92-07497.
    15       United States Bankruptc y Court, N.D. Florida, Tallahasse e Division. March 26, 1993.
    16
             The In In Re Mcbride the sanction was $2,840.00.
    17
    18
             109 A review of the three of Holland's own cited cases shows that an appropriate sanction ranges
    19       from One Thousand Dollars ($1,000.00) to Two Thousand Eight Hundred Dollars Forty Dollars.
    20       ($2,840.00). Neusom was sanctioned for over Thirty Thousand Dollars ($30,000.00), and the
             bulk of it was for things that took place in an eviction case that Cristol really doesn't even have
    21
             authority over due to the Colorado River and other Abstention Doctrines and the fact that State
    22
             and Federal Court's are separate and distinct. Neusom never filed a Notice of Appearance or
    23       filed anything in the eviction case he is being sanctioned for by Judge Cristol. This is clearly
   24        an error.
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            22. Appellant has gone into the merits and arguments of his Appeal so that the Bankruptcy
        2   Appellate Panel can see the merits of Appellants case and the wrongfulness of not granting a
            Stay so that Appellant can resume his Bankruptcy Practice. This is absolutely critical and
        3   Appellant and his potential clients will be imminently injured if this Motion for stay is denied.
        4
        5   23. WHEREFORE, Neusom prays that the Bankruptc y Appellate Panel:

     6         1. Stay further proceeding s of the Findings Of Fact And Conclusions Of Law in Case No. 18-
                  15825 during the Pendency of Thomas Neusom's Bankruptcy Appeal with Case No. 18-cv-
     7            24463-FAM
     8
     9

    10
    11      .Dated: December 13, 2018:

    12
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    13
                                                                 By:/s/Thomas Neusom
    14                                                           Attorney For Debtor
                                                                 Bar No. 003717
    15                                                           (954)200-3536
                                                                 4737 N. Ocean Drive, #129
    16                                                           Fort Lauderdale, FL 33308
    17                                                           Email: tgnoffice35@gmail.com

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                                      114




      1
     2                        CERTIFICATE OF SERVICE

     3    I HEREBY CERTIFY that a true and correct copy of the foregoing
     4
          APPELLANT THOMAS NEUSOM'S MOTION FOR REHEARNG OF THE DENIAL OF
     5    THE EMERGENCY MOTION FOR STAY DURING PENDENCY OF THE APPEAL
          TO THE BANKRUPTCY APPELLATE PANEL
     6
     7
           was furnished by email to the parties on the eservice portal by Court Clerk on December 13,
     8    2018.

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    10
    11
    12                                                       By:/s/Thomas Neusom
                                                             Appellant
    13                                                       Bar No. 0037174
    14                                                       Phone; (954)200-3536
                                                             4737 N. Ocean Drive, #129
    15                                                       Fort Lauderdale, FL 33308
                                                             Email: tgnoffice35@gmail.com
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